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16
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17

18                                       SAN FRANCISCO DIVISION

19
      IN RE: ROUNDUP PRODUCTS                      Case No. 3:16-md-02741-VC
20    LIABILITY LITIGATION
                                                   MDL No. 2741
21

22    This document relates to:                    PLAINTIFFS’ OPPOSITION TO
                                                   MONSANTO’S (1) MOTION FOR
23    Hardeman v. Monsanto Co., et al.,            SUMMARY JUDGMENT RE: GROUP 1
      3:16-cv-0525-VC                              PLAINTIFFS ON NON-CAUSATION
24    Stevick v. Monsanto Co., et al.,             GROUNDS AND (2) MOTIONS TO
      3:16-cv-2341-VC                              EXCLUDE THE EXPERT TESTIMONY
25    Gebeyehou v. Monsanto Co., et al.,           OF WILLIAM SAWYER, CHARLES
26    3:16-cv-5813-VC                              BENBROOK, AND JAMES MILLS

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 1                                              INTRODUCTION

 2          Defendant Monsanto Company (“Monsanto”) has not established that it is entitled to summary

 3   judgment on its arguments applicable to all Group 1 Plaintiffs or its statute of limitations argument in the

 4   Gebeyehou case.
            To begin, federal regulations have not preempted any of the Plaintiffs’ claims. With respect to
 5
     Plaintiffs’ warnings claims, “a state-law labeling requirement is not expressly preempted by § 136v(b) if
 6
     it is equivalent to, and fully consistent with, Federal Insecticide, Fungicide, and Rodenticide Act
 7
     (FIFRA) misbranding provisions.” Bates v. Dow AgroSciences, LLC, 544 U.S. 431, 447 (2005). The test
 8
     is straight-forward—state law and FIFRA are “equivalent” when a violation of state law would also
 9
     violate FIFRA’s misbranding provisions. Id. at 454. Here, the Court already determined that Plaintiffs’
10
     claims are equivalent to FIFRA’s misbranding provisions. See Hardeman v. Monsanto Co., 216 F. Supp.
11
     3d 1037, 1038 (N.D. Cal. 2016). But more importantly, Bates instructs that when warnings claims are
12
     minimally inconsistent with FIFRA’s misbranding prohibition, the solution is not dismissal but rather
13
     jury instructions on FIFRA’s requirements. Bates, 544 U.S. at 454.
14         Monsanto also challenges all of Plaintiffs’ claims under a theory of impossibility preemption.
15   Beyond Bates’ rejection of every aspect of Monsanto’s position, Defendant’s argument suffers from a
16   myriad of fatal defects. Most notably, the plain language of FIFRA evinces clear congressional intent to
17   preserve States’ broad police powers. See Bates, 544 U.S. at 446 (“It is highly unlikely that Congress
18   endeavored to draw a line between the type of indirect pressure caused by a State's power to impose sales

19   and use restrictions and the even more attenuated pressure exerted by common-law suits.”); 7 U.S.C. §

20   136v. As “the purpose of Congress is the ultimate touchstone in every pre-emption case,” Monsanto

21   cannot overcome the traditional presumption against preemption under the facts of this case. Wyeth v.

22   Levine, 555 U.S. 555, 565 (2009) (quotations omitted). Monsanto relies heavily on preemption cases
     involving the FDCA to promote its position. In stark contrast to FIFRA, however, the FDCA is a statute
23
     that, by express language, displaces the broad police powers. FIFRA, in contrast, expressly reserved those
24
     powers to the States. See 21 U.S.C. § 301 et seq. Accordingly, Monsanto cannot meet its burden and
25
     overcome the traditional presumption against preemption. See Wyeth, 555 U.S. at 565.
26
            Monsanto fails to meet its obligations on the instant motion. In asserting specific affirmative
27
     defenses, Monsanto bears the burden of showing (1) that California law is inconsistent with FIFRA and
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 1   (2) that it is impossible for Monsanto to comply with federal and California law. See PLIVA, Inc. v.

 2   Mensing, 564 U.S. 604, 620 (2011). Monsanto does not meet its burden.

 3          Monsanto similarly fails to meet its burden on its other arguments. Plaintiffs’ failure to warn

 4   claims may proceed because the risks of Roundup® exposure were already known or knowable to the
     scientific community in the 1980s. By 1999, Monsanto possessed sufficient information about
 5
     Roundup®’s cancer risks based on a report from Dr. James Parry, a renowned scientist it hired, which
 6
     indicated risks associated with glyphosate.
 7
            Monsanto’s argument to bar the assessment of punitive damages must fail as well. Plaintiffs are
 8
     entitled to punitive damages under California law where, as here, a manufacturer markets a product
 9
     known to be defective and dangerous to consumers and fails to provide a warning of its risks. Here,
10
     Monsanto: (1) continued to market and sell GBFs while failing to warn consumers of a known risk of
11
     non-Hodgkin’s Lymphoma (NHL); (2) did not conduct studies recommended by its own consultants; (3)
12
     did not evaluate its GBF formulations to determine the risks associated with surfactants; (4) elected to
13
     continue to market products with a POEA surfactant despite knowledge of safer alternatives; and (5)
14   ghostwrote articles in order to publish positive safety data.
15          Monsanto raises an unfounded argument that Mr. Gebeyehou’s claim is untimely based on
16   purported discovery in 2014—at a time when Mr. Gebeyehou, as a layperson, did not and reasonably
17   could not have discovered that his Roundup® exposure caused his NHL. Mr. Gebeyehou’s cause of action
18   arose much later, in March 2016, when he discovered credible facts to support his claims in this litigation.

19   Moreover, the issue of when Mr. Gebeyeheou possessed sufficient facts to know or reasonably be on

20   notice that Roundup® was the cause of his NHL is a question of fact for the jury to decide.

21          Plaintiffs also oppose Monsanto’s motions to exclude the expert testimony of Dr. Charles

22   Benbrook, Mr. James Mills, and Dr. William Sawyer. As discussed below, each individual is well
     qualified for the area for which they will offer testimony and that testimony will aid and assist the finder
23
     of fact at trial. Accordingly, for the detailed reasons below, the Court should deny Monsanto’s effort to
24
     preclude their testimony and Plaintiffs respectfully request that the Court deny Monsanto’s motion for
25
     summary judgment in its entirety.
26

27

28
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 1                                          STATEMENT OF FACTS

 2          All Plaintiffs were exposed to Monsanto’s Roundup® herbicides prior to developing NHL. See

 3   Ex. 1 Gebeyehou Dep. at 45:13-16; Ex. 2 Hardeman Dep. at 171:4-16; Ex. 3 Stevick Dep. at 98:1-19.

 4   Roundup®, which combines glyphosate with a surfactant, is designed, marketed and manufactured by
     Monsanto. ¶¶Id. 4. At no point did the labeling, advertising, or marketing for the Roundup® products
 5
     which Plaintiffs used include a cancer warning or information concerning the risk of NHL. Id.
 6
            Plaintiffs filed their complaints on February 1, 2016 [Hardeman]; April 29, 2016 [Stevick], and
 7
     October 7, 2016 [Gebeyehou], respectively, each alleging that exposure to Roundup® substantially
 8
     contributed to the development and progression of each Plaintiff’s NHL.
 9
           A. Pesticide Regulation Under FIFRA
10
            Pesticides can be regulated at federal, state, and local levels. Wisconsin Pub. Intervenor v.
11
     Mortier, 501 U.S. 597 (1991). The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA), 7
12
     U.S.C. § 136 et seq. (2012), establishes the federal regulatory component. Under FIFRA, manufacturers
13
     register pesticides with the Environmental Protection Agency (EPA) and generally cannot sell their
14
     pesticides unless registered. Id. § 136a(a). In applying for registration, the manufacturer submits “a
15
     complete copy of the labeling of the pesticide.” Id. § 136a(c)(1)(c); see also 40 C.F.R. §152.50(e) (2012).
16   For the most part, FIFRA does not specify the exact language to be used on the labeling; instead, “[t]he
17   registrant must take responsibility for quality control of the product's composition and for adequate
18   labeling describing the product, its hazards and uses.” 53 Fed. Reg. 15,952, 15,956 (May 4, 1988).
19          FIFRA and EPA's regulations establish certain minimum requirements for pesticide labeling, 40
20   C.F.R. § 156.10(a)(1), but registrants may include non-required information on labels. Id. §156.10(a)(2).
21          EPA will approve the registration of a pesticide if it determines the pesticide’s composition

22   warrants claims made for it, its labeling and other materials comply with FIFRA, and it will not generally

23   cause unreasonable adverse effects on the environment when performing its intended function or when

24   used in accordance with widespread and commonly recognized practice. 7 U.S.C. § 136a(c)(5)(A)-(D);

25   see also 40 C.F.R. § 152.112.
            Both during the registration process and afterwards, the EPA relies on manufacturers to inform
26
     it of the product's effects on health. See 7 U.S.C 136a(a); 40 C.F.R. § 158.100-158.740. Manufacturers
27
     are responsible for drafting labels, requesting the specific classification of the pesticides (for general
28
                                            -3-                 Case No. 3:16-md-02741-VC
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 1   use, restricted use, or both), and submitting supporting data. 7 U.S.C. § 136a(c)(1). After registration, if

 2   the registrant learns additional factual information about unreasonable adverse health effects, federal

 3   law requires the manufacturer to submit that information to the EPA. 7 U.S.C. § 136d(a)(2)(emphasis

 4   added).
               A manufacturer is responsible for the adequacy of its label at all times. Notwithstanding
 5
     registration, a pesticide is misbranded if its label contains inadequate directions for use, fails to contain
 6
     warning statements adequate to protect health and the environment, or is false or misleading in any
 7
     respect. 7 U.S.C. § 136(q)(1)(A), (F), & (G). Moreover, FIFRA recognizes that, even “when used in
 8
     accordance with the requirements imposed under this subchapter and as directed by the labeling,” a
 9
     pesticide may “nevertheless cause [] unreasonable adverse effects on the environment,” 7 U.S.C. §
10
     136k(b)(3). Although registration is prima facie evidence that the pesticide and its labeling comply with
11
     FIFRA's registration provisions, FIFRA imposes upon manufacturers a continuing obligation to
12
     maintain the safety of registered products. FIFRA expressly provides that “[i]n no event shall registration
13
     of an article be construed as a defense for the commission of any offense under this subchapter.” Id. §
14   136a(f)(1)-(2).
15             FIFRA anticipates that manufacturers may have to make labeling changes after registration. The
16   onus for deciding whether a labeling change is necessary falls on the registrant, which must draft the
17   revised label and submit it to EPA for review. 40 C.F.R. § 152.44(a). If EPA determines the change will
18   not violate FIFRA, the registration “shall be amended to reflect such change.” 7 U.S.C. § 136a(f)(1).

19   Generally, the EPA must approve the application before the manufacturer may sell or distribute the

20   product with amended labeling, 40 C.F.R. § 152.44(a), but certain changes “having no potential to cause

21   unreasonable adverse effects to the environment may be accomplished by notification to the Agency,

22   without requiring that the registrant obtain Agency approval.” Id. § 152.46(a)(1).
               FIFRA also preserves a substantial role for state regulation and specifies that a state “may
23
     regulate the sale or use of any federally registered pesticide or device in the State, but only if and to the
24
     extent the regulation does not permit any sale or use prohibited” by FIFRA. 7 U.S.C. § 136v(a). Thus,
25
     states may go beyond federal regulation including banning the sale of registered pesticides. FIFRA's
26
     only other limitation on states' ability to regulate beyond federal requirements is that “[s]uch State shall
27
     not impose or continue in effect any requirements for labeling or packaging in addition to or different
28
                                            -4-                 Case No. 3:16-md-02741-VC
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 1   from those required under this Act.” 7 U.S.C. § 136v(b). The U.S. Supreme Court has recognized that a

 2   state “may ban the sale of a pesticide if it finds, for instance, that one of the pesticide's label-approved

 3   uses is unsafe.” Bates v. Dow AgroSciences, LLC, 544 U.S. 431, 446 (2005).
           B. EPA’s Review of Glyphosate and Monsanto’s Formulations Containing Glyphosate
 4

 5          Glyphosate is a broad-spectrum herbicide that kills annual and perennial weeds. The EPA’s

 6   Office of Pesticide Programs processed the initial petition and registration application for glyphosate in
     the 1970’s. A majority of the studies submitted for the initial registration of glyphosate were conducted
 7
     at Industrial Bio-Test Laboratories (IBT) and later found to be invalid. See Ex. 81. Accordingly,
 8
     Monsanto was required to redo toxicological and carcinogenicity testing on glyphosate.
 9
            In 1985, an EPA review of a glyphosate mouse study found that “glyphosate was oncogenic in
10
     male mice causing renal tubule adenomas, a rare tumor ....” Ex. 4. During a February 1985 consensus
11
     review of the available glyphosate data, a group of EPA scientists classified glyphosate as a “Category
12
     C” oncogene: a possible human carcinogen. Id. In 1986, a FIFRA Scientific Advisory Panel (SAP)
13
     recommended that Monsanto repeat both the mouse and the rat studies to clarify unresolved questions.
14
     Monsanto repeated the rat study but did not repeat the mouse study. Id. at Ex. 82. The mouse test was
15
     not redone, but in 1991, a Carcinogenicity Peer Review Committee reviewed the new rat study and
16   recommended that glyphosate be classified as a Group E chemical: Evidence of Non-Carcinogenicity
17   for Humans. See Ex. 83. The Peer Review Committee was divided, with the majority finding that the
18   mouse and rat studies did not demonstrate carcinogenicity. Id. The divided Panel cautioned “that
19   designation of an agent in Group E is based on the available evidence at the time of evaluation and
20   should not be interpreted as a definitive conclusion that the agent will not be a carcinogen under any
21   circumstances.” Id..

22          Over the past 40 years, EPA has only reviewed and considered the carcinogenicity of the active

23   ingredient glyphosate. EPA relies on the manufacturer to submit data and has never conducted its own

24   testing on glyphosate or any of Monsanto’s formulations using glyphosate. Id. See Euro-Pro Operating

25   LLC v. Euroflex Ams., No. 08CV6231 (HB ),2008 WL 5137060. EPA has never reviewed whether
     Monsanto’s formulations combining glyphosate with surfactants are carcinogenic in long-term animal
26
     studies, and Monsanto has never conducted such tests. Id. See Ex. 4.
27

28
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 1         On March 21, 2015, the International Agency for Research on Cancer (IARC) thoroughly

 2   reviewed data relating to glyphosate and concluded that the chemical was a “probable human

 3   carcinogen.” See Ex. 84. In July 2017, the State of California reviewed the IARC classification and

 4   similarly concluded that glyphosate is a chemical known to cause cancer.
            On September 12, 2016, the EPA’s Office of Pesticide Programs published a preliminary issue
 5
     paper on the carcinogenic potential of glyphosate but did not consider the carcinogenicity of glyphosate-
 6
     based formulations (GBFs). 1 See Ex. 85. The EPA noted that it required additional research to determine
 7
     whether formulation components, including surfactants, influenced the toxicity of the products. Id. at
 8
     21. With respect to NHL, the Report found that “a conclusion regarding the association between
 9
     glyphosate exposure and risk of NHL cannot be determined based on the available data.” Id. at 22.
10
     Nonetheless, EPA ultimately concluded that glyphosate alone was “likely not carcinogenic to humans.”
11
     See Ex. 86.
12
            Prior to the publication of the EPA’s issue paper, however, an employee within EPA’s Office of
13
     Research and Development noted that its scientists would be split on whether glyphosate is carcinogenic
14   with some classifying the herbicide as “likely to be carcinogenic.” Ex. 18. Likewise, a FIFRA SAP
15   convened to review the EPA’s methodology and report was split with respect to whether glyphosate was
16   a carcinogen with some members concluding that “the weight-of-evidence conclusion based on EPA’s
17   2005 Guidelines naturally leads to suggestive evidence of potential carcinogenic effects.” Ex. 87. The
18   SAP further concluded that “the EPA evaluation does not appear to follow the EPA (2005) Cancer

19   Guidelines.” See Ex. 84.

20          The EPA still has not issued a final version of its glyphosate review. The terms of its 2005

21   Guidelines for Carcinogen Risk Assessment dictate the EPA’s classification of glyphosate’s

22   carcinogenic potential. These terms, however, constitute a non-binding statements of policy that do not
     establish any substantive rule of law. Ex. 84.
23
            The Roundup® that Plaintiffs used still does not contain any warning or information regarding
24
     an association between Roundup® and NHL. See Ex. 4.
25

26   1
       A revised issue paper was released in December 2017 but did not change the citations made in this
27   motion. See U.S. Environmental Protection Agency Office of Pesticide Programs, Revised Glyphosate
     Issue Paper: Evaluation of Carcinogenic Potential 12-13, 143-44 (Dec. 12, 2017) (“OPP”).
28
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 1                 3d 1037, 1038 (N.D. Cal. 2016). But more importantly, Bates instructs that when warnings

 2   claims are minimally inconsistent with FIFRA’s misbranding prohibition, the solution is not dismissal

 3   but rather jury instructions on FIFRA’s requirements. Bates, 544 U.S. at 454.

 4         Monsanto also challenges all of Plaintiffs’ claims under a flawed theory of impossibility
     preemption. Aside from the fact that Bates implicitly rejected every aspect of Monsanto’s position, its
 5
     argument suffers from a myriad of fatal defects. Most notably, “the purpose of Congress is the ultimate
 6
     touchstone in every pre-emption case,” Wyeth v. Levine, 555 U.S. 555, 565 (2009) (quotations omitted).
 7
     And here, the plain language of FIFRA evinces clear congressional intent to preserve States’ broad police
 8
     powers. See Bates, 544 U.S. at 446; 7 U.S.C. § 136v. But in stark contrast to FIFRA, the FDCA governs
 9
     the pharmaceutical cases which Monsanto relies upon and the FDCA is a statute that displaces the broad
10
     police powers that FIFRA expressly reserved to the States. See 21 U.S.C. § 301 et seq. Accordingly,
11
     Monsanto cannot meet its burden and overcome the traditional presumption against preemption. See
12
     Wyeth, 555 U.S. at 565.
13
           Monsanto fails to meet its obligations on the instant motion. In asserting specific affirmative
14   defenses, Monsanto bears the burden of showing (1) that California law is inconsistent with FIFRA’s and
15   (2) that it is impossible for Monsanto to comply with federal and California law. Monsanto does not
16   meet its burden.
17                                                ARGUMENT
18         A. Monsanto’s Express Preemption Argument Does Not Support Summary Judgment.

19          Plaintiffs’ failure to warn claims do not seek to impose requirements in addition to or different
20   from FIFRA. Hardeman v. Monsanto Co., 216 F. Supp. 3d 1037, 1038 (N.D. Cal. 2016) (finding that
21   “[t]o the extent Hardeman's failure-to-warn claims attack Roundup's product labeling, they are consistent

22   with FIFRA”). 2 But even assuming, arguendo, that they did, Monsanto is still not entitled to summary

23   judgment on the basis of express preemption. In Bates, the Supreme Court reasoned that the trial court

24   could cure any minimal inconsistencies between parallel warnings claims and FIFRA’s misbranding

25
     2
        Every federal court to consider FIFRA preemption in the context of Roundup and NHL followed the
26
     Hardeman decision. See, e.g., Giglio v. Monsanto Co., No. 15CV2279 BTM (NLS), 2016 WL 1722859,
27   at *1-4 (S.D. Cal. Apr. 29, 2016); Sheppard v. Monsanto Co., 16-00043 JMS-RLP, 2016 WL 3629074
     (D. Haw. June 29, 2016); Carias v. Monsanto Co., 15CV3677JMAGRB, 2016 WL 6803780, at *2
28   (E.D.N.Y. Sept. 30, 2016); Blitz v. Monsanto Co., 317 F. Supp. 3d 1042 (W.D. Wis. 2018).
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 1   statute in its jury instructions—not dismissal under Rule 56. See Bates, 544 U.S. at 454 (“If a case

 2   proceeds to trial, the court's jury instructions must ensure that nominally equivalent labeling requirements

 3   are genuinely equivalent.”)(emphasis in original); see also Hardeman, 216 F. Supp. 3d at 1038 (quoting

 4   Indian Brand Farms, Inc. v. Novartis Crop Prot. Inc., 617 F.3d 207, 222 (3d Cir. 2010)) (“Bates thus
     ‘established that mere inconsistency between the duty imposed by state law and the content of a
 5
     manufacturer's labeling approved by the EPA at registration did not necessarily mean that the state law
 6
     duty was preempted.’”); Adams v. U.S., 449 F. App’x 653, 659 (9th Cir. 2011) (“[t]he instruction need
 7
     not, however, be ‘phrased in the identical language as its corresponding FIFRA requirement.’”) (citations
 8
     omitted) (emphasis original). 3
 9
           B. The Supreme Court Rejected Monsanto’s Impossibility Preemption Argument
10
            In Bates, the majority opinion expressly contemplated that claims parallel to FIFRA’s
11
     misbranding statute, as well as common-law claims that do not implicate labeling at all, can survive
12
     summary judgment and go to the jury. See Bates 544 U.S. at 454 (“If a defendant so requests, a court
13
     should instruct the jury on the relevant FIFRA misbranding standards, as well as any regulations that add
14
     content to those standards.”) (emphasis added); see also id. at 432 (“The proper inquiry calls for an
15
     examination of the elements of the common-law duty at issue, not for speculation as to whether a jury
16   verdict will prompt the manufacturer to change its label.”). In fact, Bates even indicates that a jury verdict
17   at odds with EPA findings—the crux of Monsanto’s impossibility argument—does not pose a preemption
18   problem. See Bates, 544 U.S. at 452 (“While it is true that properly instructed juries might on occasion
19   reach contrary conclusions on a similar issue of misbranding, there is no reason to think such occurrences
20   would be frequent or that they would result in difficulties beyond those regularly experienced by
21   manufacturers of other products that every day bear the risk of conflicting jury verdicts.”).

22
     3
23     Additionally, the three Plaintiffs and many others in the litigation bring warnings claims that do not
     concern the Roundup® label at all but instead concern Monsanto’s marketing and advertising for its
24   Roundup® branded herbicides. Because these claims do not impose requirements for labeling or
     packaging at all but instead center upon Monsanto’s failures to warn consumer through advertisements
25   and marketing, these claims are not preempted. See e.g., Hardeman Am. Compl. ¶101-104; 123-124(a);
     124(f); 123(i)-(p); 126-127(h); 173. See Stengel v. Medtronic Inc., 704 F.3d 1224 (9th Cir. 2013); In re
26
     Incretin-Based Therapies Products Liab. Litig., 721 Fed. Appx. 580 (9th Cir. 2017); Hughes v. Boston
27   Scientific Corp., 631 F.3d 762, 765 (5th Cir.2011); Bausch v. Stryker Corp., 630 F.3d 546, 549 (7th Cir.
     2010); Coleman v. Medtronic, Inc., 167 Cal. Rptr. 3d 300 (Cal. App. Ct. 2014).
28
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 1          Monsanto cannot escape this inconvenient truth by incorrectly claiming that the Court’s ruling in

 2   Bates was limited to express preemption, see “Monsanto Company’s Notice of Motion and Motion for

 3   Summary Judgment Re: Tier 1 Plaintiffs on Non-Causation Grounds, dated Jan. 3, 2019 at 8, fn. 2

 4   (Mot.)—it was not. Both parties in Bates addressed impossibility preemption 4 and “the majority opinion
     indicates that the Bates Court rejected impossibility preemption sub silentio.” Ansagay v. Dow
 5
     Agrosciences LLC, 153 F. Supp. 3d 1270, 1281 (D. Haw. 2015) (citing Dennis v. Higgins, 498 U.S. 439
 6
     (1991)(noting implicit rejection of argument concerning relief); Jackson v. Metro. Edison Co., 419 U.S.
 7
     345 (1974)(same); Ansagay, 153 F. Supp. 3d at 1281 (“Implied conflict preemption, including
 8
     impossibility conflict in particular, was indeed before the Bates Court,” which rejected these arguments).
 9
     And, as Justice Thomas noted, “[the Bates] decision thus comports with this Court's increasing reluctance
10
     to expand federal statutes beyond their terms through doctrines of implied pre-emption.” 544 U.S. at 459
11
     (Thomas concurring in judgment and dissenting in part) (emphasis added). Accordingly, because Bates
12
     considered and rejected all of Monsanto’s arguments sub judice, save for the “clear evidence” argument,
13
     which as discussed below is inapposite, Monsanto’s request for summary judgment must be denied.
14         C. Congress Did Not Intend to Impliedly Preempt Common Law Claims
15
            “[F]ederal preemption is an affirmative defense upon which the defendants bear the burden of
16   proof[.]” Bruesewitz v. Wyeth LLC, 562 U.S. 223, 251 n.2 (2011) (quoting Fifth Third Bank ex rel. Trust
17   Officer v. CSX Corp., 415 F.3d 741, 745 (7th Cir. 2005)). There are two cornerstones of preemption
18   analysis—Congressional intent and the presumption against preemption. Wyeth v. Levine, 555 U.S. 555,
19   565 (2009). “In areas of traditional state regulation,” such as the regulation of chemical substances, the
20   Court “assume[s] that a federal statute has not supplanted state law unless Congress has made such an
21   intention ‘clear and manifest.’” Bates v. Dow Agrosciences LLC, 544 U.S. at 449 (quoting New York

22   State Conference of Blue Cross & Blue Shield Plans v. Travelers Ins. Co., 514 U.S. 645, 655 (1995)).

23   Indeed, when interpreting federal law, the court has “a duty to accept the reading that disfavors pre-

24

25   4
        See Brief for Petitioners, Bates v. Dow AgroSciences, LLC, 2004 WL 2075750 (U.S.), at 29; Reply
     Brief for Petitioners, Bates v. Dow AgroSciences, LLC, 2004 WL 3017317 (U.S.), at 3, 7; Amicus Curiae
26
     Brief of the Defense Research Institute in Support of Respondent, 2004 WL 2714007 (U.S.), at 29; Brief
27   for American Chemistry Council as Amicus Curiae in Support of Respondent, 2004 WL 2681683 (U.S.),
     at 5–6.; See also Bates v. Dow Agrosciences LLC, Oyez, https://www.oyez.org/cases/2004/03-388 (last
28   visited Jan 20, 2019).
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 1   emption.” Id. Thus, absent “clear evidence of a conflict,” this Court must give force to state law. Geier

 2   v. Am. Honda Motor Co., 529 U.S. 861, 885 (2000).

 3          No court has considered or extended Wyeth, Mensing, and Bartlett in the FIFRA context for good

 4   reason—FIFRA’s express preemption clause is powerful evidence that Congress did not intend to
     preempt anything other than warning claims that extend beyond FIFRA’s misbranding statute. See Bates,
 5
     544 U.S. at 449; Cipollone v. Liggett Group, Inc., 505 U.S. 504, 517 (1992) (“Congress' enactment of a
 6
     provision defining the pre-emptive reach of a statute implies that matters beyond that reach are not pre-
 7
     empted.”); Jeffers v. Wal-Mart Stores, Inc., 171 F. Supp. 2d 617, 623 (S.D. W.V. 2001) (“The
 8
     combination of the substantive goals and purpose of FIFRA with its express pre-emption limited to
 9
     packaging and labeling counsels against finding conflict preemption.”); Mutual Pharm. Co., Inc. v.
10
     Bartlett, 570 U.S. 472, 496 (2013) (“Moreover, unlike the federal statute at issue in Medtronic, the statute
11
     before us contains no general pre-emption clause.”) (Breyer dissenting). In fact, Monsanto embraced this
12
     position at the outset of this litigation before reversing course in its summary judgment motion. See
13
     Hardeman v. Monsanto Co., No. 3:16-cv-005250VC (N.D. Cal. Mar. 22, 2016), ECF No. 30 (Ex. 5)
14   (“Wyeth imposed this higher burden for preemption in prescription drug cases precisely because the
15   federal Food, Drug, and Cosmetic act—unlike FIFRA—does not contain an express preemption
16   provision.”) (citations omitted). Given that Monsanto has already virtually conceded that FIFRA’s
17   express preemption clause forecloses implied preemption, the case against preemption is particularly
18   applicable in the current context.

19         D. Because Congress Intended to Preserve States’ Broad Police Powers Under FIFRA, the
              Impossibility Analysis Under Prescription Drugs is Inapplicable.
20
            The plain language of FIFRA evinces an unambiguous Congressional intent to preserve states’
21
     traditional and broad police powers. See Bates, 544 U.S. at 449-450 (“If Congress had intended to deprive
22
     injured parties of a long available form of compensation, it surely would have expressed that intent more
23
     clearly.”); 7 U.S.C. § 136v(a) (“A State may regulate the sale or use of any federally registered pesticide
24
     or device in the State, but only if and to the extent the regulation does not permit any sale or use prohibited
25
     by this subchapter.”). As explained in Bates, FIFRA, by its plain terms, “authorizes a relatively
26
     decentralized scheme that preserves a broad role for state regulation. Most significantly, States may ban
27   or restrict the uses of pesticides that EPA has approved, § 136v(a).” Bates, 544 U.S. at 450-451. And,
28
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 1   states “may also register, subject to certain restrictions, pesticides for uses beyond those approved by

 2   EPA, § 136v(c).” Id.

 3          Monsanto’s impossibility preemption argument is predicated upon a misplaced assumption that

 4   FIFRA and the FDCA are relatively similar statutes. But in stark contrast to FIFRA’s decentralized
     scheme designed to preserve states’ police powers—including the express authority to ban the sale of
 5
     any pesticide outright—the FDCA’s regulatory scheme is highly centralized. Through the FDCA,
 6
     “Congress vested sole authority in the FDA to determine whether a drug may be marketed in interstate
 7
     commerce.” Gross v. Pfizer, Inc., 825 F. Supp. 2d 654, 659 (D. Md. 2011) (citing 21 U.S.C. § 301 et
 8
     seq.,). Accordingly, the FDCA preempts any state law or tort claim that would prohibit drug
 9
     manufacturers from selling their FDA-approved products as permitted by FDA. See, e.g., Zogenix, Inc.
10
     v. Patrick, CIV.A. 14-11689-RWZ, 2014 WL 1454696 at *12 (D. Mass. Apr. 15, 2014) (emergency order
11
     banning the ordering, dispensing, and administration of opioid preempted because “if the [State] were
12
     able to countermand the FDA's determinations and substitute its own requirements, it would undermine
13
     the FDA's ability to make drugs available to promote and protect the public health.”); Gross, 825 F. Supp.
14   2d at 659 (requiring a drug manufacturer “to stop production of a drug” “would directly conflict with”
15   FDA's “sole authority ... to determine whether a drug may be marketed in interstate commerce.”), aff'd
16   sub nom., Drager v. PLIVA USA, Inc., 741 F.3d 470 (4th Cir. 2014); c.f. 7 U.S.C. § 136v. Because FIFRA
17   contemplates that states may ban the sale of pesticides and restrict their uses beyond EPA requirements,
18   it is inconceivable that Congress intended to implicitly preempt state common-law tort suits. Unlike

19   FDCA impossibility preemption, which turns on a manufacturer’s inability to comply with federal law

20   in the face of conflicting state requirements, FIFRA expressly contemplates that states can disallow what

21   EPA permits. See 7 U.S.C. § 136v.

22          Nor can Monsanto argue that common-law tort requirements are distinct from the police powers
     expressly granted to states under § 136v for the purposes of inferring preemptive intent. As the Court
23
     explained in Bates;
24

25         Under § 136v(a), a state agency may ban the sale of a pesticide if it finds, for instance, that
           one of the pesticide's label-approved uses is unsafe ... It is highly unlikely that Congress
26         endeavored to draw a line between the type of indirect pressure caused by a State's power
           to impose sales and use restrictions and the even more attenuated pressure exerted by
27         common-law suits.
28
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 1   Bates, 544 U.S. at 446 (emphasis added). This is because immunizing pesticide manufacturers from

 2   common law liability is plainly inconsistent with FIFRA. See id. at 449-450; 7 U.S.C. § 136j(a)(1)(E); §

 3   136a(f)(1) (a manufacturer may seek approval to amend its label); § 136a(f)(2) (registration not a defense

 4   to misbranding); § 136v; 40 C.F.R. §§ 159.184(a), (b) (pesticide manufactures have a duty to report
     incidents involving a pesticide’s toxic effects that may not be adequately reflected in the product’s label).
 5
     Yet, under Monsanto’s theory, a manufacturer would have virtually no incentive to correct labeling
 6
     concerning human health hazards if it could rely on registration to avoid liability. This cannot be right.
 7
     See Bates, 544 U.S. at 450-51 (“...it seems unlikely that Congress considered a relatively obscure
 8
     provision like § 136v(b) to give pesticide manufacturers virtual immunity from certain forms of tort
 9
     liability.”).
10
             Monsanto, under the instant motion, asks the Court to create a rule that would go even further and
11
     bestow blanket immunity upon manufacturers of registered pesticides for not only labeling requirements
12
     that parallel FIFRA’s misbranding statute, but also any common-law requirement promoting product
13
     safety. Such a rule would undermine both the goal of FIFRA’s regulatory regime and the interests of
14   states in ensuring the safety of their residents. In short, it would be completely antithetical to
15   congressional intent.
16          E. Even if Impossibility Preemption Applied—Which it Does Not—the Court’s Analysis
               Would Be Guided by Wyeth Not Mensing or Bartlett.
17

18           The “clear evidence” standard in Wyeth, and not the impossibility analysis in Mensing and
     Bartlett, guides the Court’s analysis because Monsanto can petition EPA to amend the Roundup® label.
19
     See 7 U.S.C. § 136a(f)(1).
20
             In Sikkelee v. Precision Airmotive Corp., the Third Circuit undertook an impossibility preemption
21
     analysis involving the Federal Aviation Administration (FAA) and held that although some principals of
22
     pharmaceutical preemption are applicable to the FAA—a regulatory regime that plainly reserves to the
23
     states considerably fewer traditional police powers than does FIFRA—Wyeth, and not Mensing or
24
     Bartlett, guides the court’s preemption analysis. 907 F.3d 701, 711 (3d Cir. 2018). The Court of Appeals
25
     explained that this is because “the defendant generic manufacturers [in Mensing and Bartlett] were
26
     obligated to use the design and labeling of their brand-name counterparts” whereas a defendant
27   manufacturer under the FAA, like Monsanto here, could petition the FAA to change design approvals.
28
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 1   Id. at 713. The Third Circuit applied Wyeth even though “[the manufacturer] could not simultaneously

 2   comply with federal and state law, where state law would require it to adopt a different design” because

 3   there was “no evidence in the record showing that the FAA would not have approved a change.” See id.

 4   at 712-714.
            Here, Monsanto’s position is analogous to the defendant manufacturers in Sikelee and Wyeth, not
 5
     the generic drug manufacturers in Mensing and Bartlett. FIFRA demands that the manufacturer, and not
 6
     the EPA, bears primarily responsibility for the content of its label at all times. See 7 U.S.C. §
 7
     136j(a)(1)(E); § 136a(f)(2); see also Wyeth, 555 U.S. at 579 (holding that drug manufacturers, rather than
 8
     the FDA, are primarily responsible for drug labeling). As no party disputes that Monsanto can petition
 9
     EPA to implement label and design changes, Monsanto must show sufficient evidence that EPA would
10
     have rejected a cancer warning had Monsanto proposed one. See Wyeth, 555 U.S. at 571. As discussed
11
     below, Monsanto cannot meet its burden.
12
               1. Monsanto Cannot Meet Its Demanding “Clear Evidence” Burden.
13
            Monsanto’s burden in proving “clear evidence” is a heavy one. See Wyeth, 555 U.S. at 573 (noting
14
     that the clear evidence preemption “is a demanding defense.”). After previously contending that the “clear
15
     evidence” exception to implied preemption is “inapposite” within the FIFRA preemption context,
16   Monsanto now argues the opposite. See Hardeman v. Monsanto Co., No. 3:16-cv-005250VC at 6-7 (N.D.
17   Cal. Mar. 22, 2016), ECF No. 30 (Ex. 5) (“Hardeman Preemption Reply.”). Monsanto now contends that
18   it must show “[u]nder the circumstances, there is ‘clear evidence’ that EPA would have rejected a cancer
19   warning had Defendants proposed to add one to the label.” Mot. at 14. 5 But Monsanto’s problems are
20   multifaceted; first, its product is Roundup® and not glyphosate. 6 Accordingly, it cannot rely on
21   determinations as to a component part to argue that EPA would have nevertheless rejected a more

22   stringent label for Roundup®—especially in light of Monsanto’s knowledge that glyphosate and

23   5
       Monsanto’s reply in Hardeman further supports Plaintiffs’ earlier point that FIFRA’s express
24   preemption clause creates a strong inference that implied preemption is inapplicable. See Hardeman v.
     Monsanto Co., No. 3:16-cv-005250VC (N.D. Cal. Mar. 22, 2016), ECF No. 30 (Ex. 5) (“Wyeth imposed
25   this higher burden for preemption in prescription drug cases precisely because the federal Food, Drug,
     and Cosmetic act—unlike FIFRA—does not contain an express preemption provision.”) (citations
26
     omitted).
     6
27     Even if glyphosate were the subject of the Court’s inquiry, Monsanto would still be unable to meet its
     burden. The Court, however, need not address how EPA would respond to more stringent warning
28   requests for glyphosate alone because that is not at issue.
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 1   Roundup® have distinct carcinogenicity risks. Second, Monsanto did not propose a more stringent label

 2   or warning. Rather, it expended considerable effort to avoid more stringent labeling requirements. Third,

 3   neither Monsanto nor any other company has ever informed the EPA of the risks that GBFs present.

 4   Fourth, EPA determinations do not carry the force of law. Under these circumstances, Monsanto cannot
     show EPA would have rejected its request for a cancer warning and judgment on its “clear evidence”
 5
     theory must be denied.
 6

 7             2. Glyphosate and Roundup® Are Not the Same Thing.
             The Court must consider the manufacturer’s knowledge of the risk to determine “clear evidence.”
 8
     Wyeth, at 569-70. In Wyeth, the Court considered the manufacturer’s knowledge and information
 9
     concerning risks, including incident reports and “accumulating data” received by the company and the
10
     company’s communication with the FDA. The Court reasoned that because “manufacturers have superior
11
     access to information” about their products, “especially in the post marketing phase as new risks emerge”
12
     manufacturers “bear primary responsibility for their [product] labeling at all times.” Id. at 578-79. The
13
     same is true with FIFRA, which imposes a “continuing obligation to adhere to FIFRA’s labeling
14
     requirements.” Bates, 544 U.S. at 438-439.
15
             Monsanto’s detailed knowledge is fatal to its “clear evidence” argument because Monsanto knew
16   that Roundup® is more dangerous than glyphosate alone. In fact, Monsanto was aware “[t]he terms
17   glyphosate and Roundup cannot be used interchangeably” and the distinction between the two was so
18   significant that “you cannot say that Roundup does not cause cancer.” Ex. 6 MONGLY00922458.
19   Monsanto toxicologist and oft spokeswoman Donna Farmer explained: “[Monsanto] [has] not done the
20   necessary testing on the formulation to make that statement. The testing on formulations are not anywhere
21   near the level of the active ingredient.” Id. Moreover, the evidence—especially when viewed in a light

22   most favorable to Plaintiffs—suggests that if Monsanto had tested its formulations, the results would

23   have supported a cancer warning. See Ex. 7 MONGLY00923065 (“[w]e have to really think about doing

24   [tests of] formulations even if they are not on the market....glyphosate is still in there and could get caught

25   up in some false positive finding.”). Nothing in Wyeth or its progeny stands for the proposition that a
     manufacturer can shield itself with a “clear evidence” defense when it knows the data considered by a
26
     regulatory body is insufficient to determine the safety of its formulated products.
27

28
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 1           FIFRA imposes an affirmative duty on manufacturers to conduct and submit to EPA the necessary

 2   data to prove that the benefits of a pesticide outweigh any risks. See 7 U.S.C. § 136(bb). And although

 3   “[t]he production of data to support a pesticide registration is controlled by the registrant,” it is often

 4   withheld from the public “as a trade secret.” Burke v. Dow Chem. Co., 797 F. Supp. 1128, 1134
     (E.D.N.Y. 1992) (quoting Tybe A. Brett & Jane E.R. Potter, Risks to Human Health Associated with
 5
     Exposure to Pesticides at the Time of Application and the Role of the Courts, 1 Vill.Envtl.L.J. 355, 363
 6
     (1990)). Because of this information imbalance, the burden to ensure the adequacy of the label always
 7
     rests on Monsanto. See Bates, 544 U.S. at 438-439 (“[M]anufacturers have a continuing obligation to
 8
     adhere to FIFRA's labeling requirements.”). Therefore, unless manufacturers alert it to the dangers or the
 9
     need for special restrictions in the use of the product, “it is unlikely that EPA will assume the burden of
10
     deciding whether a product should not be sold to the public.” Burke, 797 F. Supp. at 1135. Under these
11
     circumstances, Monsanto’s determination to remain willfully ignorant of Roundup®’s cancer risk is
12
     irreconcilable with its claim that EPA would have rejected a proposed cancer warning.
13
             Monsanto cannot meet its burden and demonstrate that EPA would have rejected a cancer warning
14   for Roundup® based on EPA’s assessments of glyphosate alone because there is no evidence that EPA
15   views glyphosate and GBFs as analogous. 7 Rather, there is considerable evidence EPA views GBFs and
16   glyphosate as distinct. For example, the 2017 EPA OPP report, which Monsanto cites for the proposition
17   that glyphosate is “not likely to be carcinogenic to humans,” expressly and repeatedly states that the focus
18   of its review, was limited to glyphosate alone—not GBFs. See OPP at 144 (“This evaluation focused on

19   studies on the active ingredient glyphosate; however, additional research could also be performed to

20   determine whether formulation components, such as surfactants, influence the toxicity of glyphosate

21   formulations.”); see also id. at 70 (“[g]lyphosate formulations contain various components other than

22   glyphosate and it has been hypothesized these components are more toxic than glyphosate alone.”).
     Because EPA acknowledges that GBFs may be more toxic than glyphosate alone, EPA’s glyphosate
23
     determinations do not provide “clear evidence” that EPA would have rejected a Monsanto proposed
24

25   7
       Plaintiffs have alleged since the outset of this litigation that there are material distinctions in the safety
     profiles of Roundup® and glyphosate. See Hardeman Compl. at ¶ 48 (“...glyphosate formulations found
26
     in Defendants’ Roundup products are more dangerous and toxic than glyphosate alone.”); ¶ 62 (“Despite
27   their knowledge that Roundup was considerably more dangerous than glyphosate alone, Defendants
     continued to promote Roundup as safe.”)
28
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 1   cancer warning.

 2             3. Monsanto Never Proposed Adding a Cancer Warning.
 3          Monsanto never attempted to provide a more stringent warning, much less a cancer warning. 8 In

 4   fact, Monsanto does not contend that anyone proposed a cancer warning at all. The fact that the EPA may

 5   not be affirmatively convinced of a causal link between GBFs and NHL does not preclude Monsanto

 6   from adding the warning on its own. See In re Testosterone Replacement Therapy Prod. Liab. Litig., No.
     14 C 1748, 2017 WL 1836435 at *9 (N.D. Ill. May 8, 2017). In drawing all reasonable inferences in favor
 7
     of Plaintiffs, the Court cannot conclude as a matter of law that the EPA would have rejected a labeling
 8
     change for NHL without evidence that a warning was ever submitted to or considered by the agency. See
 9
     In re Fosamax (Alendronate Sodium) Prod. Liab. Litig., 852 F.3d 268, 298-299 (3d Cir. 2017). It is
10
     certainly reasonable to conclude that the EPA would have accepted a warning in the name of consumer
11
     safety even if there was “inherent uncertainty” regarding whether GBFs definitively cause NHL. In re
12
     Fosamax, 852 F.3d at 299. In both In re Testosterone and In re Fosamax, preemption was not appropriate
13
     where the FDA recognized the possibility of a link between the drug and the side effect even though it
14
     ultimately concluded that the available literature did not support an association. See In re Fosamax, 852
15
     F.3d at 298; In re Testosterone, 2017 WL 1836435 at *9. Accordingly, because the salient question is
16   whether the “EPA would have rejected a cancer warning” had Monsanto proposed one, Monsanto has
17   not come close to meeting its burden. Mot. at 14. 9
18

19   8
        Monsanto relies on case law in support of its clear evidence argument that directly undercuts its
20   argument. See Mot. at 12. In every case Monsanto cites, save Seufert, a party (typically the manufacturer
     itself) proposed a more stringent label that the FDA rejected. See Cerveny v. Aventis, Inc., 855 F.3d 1091,
21   1105 (10th Cir. 2017) (“We conclude that the rejection of a citizen petition may constitute clear evidence
     that the FDA would have rejected a manufacturer-initiated change to a drug label.”); Robinson v. McNeil
22
     Consumer Healthcare, 615 F.3d 861, 873 (7th Cir. 2010) (“The ‘clear evidence’ in this case is the
23   agency's refusal to require a reference to SJS/TEN on the label of over-the-counter drugs containing
     ibuprofen, when it had been asked to do so in the submission to which the agency was responding.”);
24   Rheinfrank v. Abbott Labs., Inc., 119 F. Supp. 3d 749 (S.D. Ohio 2015), aff'd, 680 Fed. Appx. 369 (6th
     Cir. 2017) (same); But see Reckis v. Johnson & Johnson, 28 N.E.3d 445 (Mass. 2015) (“The court
25   in Wyeth specifically suggested that ‘clear evidence’ could be established by the FDA’s rejection of a
     drug maker’s attempt to give the warning underlying a claim of failure to warn .... That is not to say that
26
     the Wyeth standard of clear evidence can be satisfied only by the FDA’s rejection of a manufacturer’s
27   request for an additional warning.”).
     9
        Additionally, FIFRA expressly contemplates that label approval does not foreclose private actions to
28   enforce FIFRA’s misbranding prohibition. See 7 U.S.C. § 136a(f)(2).
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               4. Monsanto Never Fully Informed EPA of Roundup®’s NHL Risk.
 1
            Additionally, Monsanto cannot meet its clear evidence burden because it has never fully apprised
 2
     EPA of Roundup®’s cancer risk. Indeed, considerable evidence demonstrates that Monsanto withheld
 3
     critical information from EPA over the years. For example, after Monsanto hired renowned scientist Dr.
 4
     James Parry in the 1990’s to combat new studies showing GBFs were genotoxic and induced oxidative
 5
     stress, Dr. Parry's draft report concluded “glyphosate is a potential clastogenic in vitro” and the
 6   “clastogenic activity may be reproduced in vivo in somatic cells.” Ex. 8 at 12. Dr. Parry recommended
 7   that Monsanto conduct several tests to determine glyphosate’s safety, which Monsanto never conducted.
 8   Ex. 9 at 116:8-119:24. Monsanto, critically, did not provide the Parry report to EPA, as 40 C.F.R §
 9   159.158 required. See also Am. Crop Prot. Ass'n v. U.S. E.P.A., 182 F. Supp. 2d 89 (D.D.C. 2002). In
10   another example known to the Court, Monsanto employee Dr. William Heydens admitted to ghostwriting
11   and making final edits to an article by Gary Williams. See Ex. 10. Monsanto noted in December 2010,

12   that Williams (2000) was “an invaluable asset” for its “responses to agencies; Scientific Affairs rebuttals;

13   and Regulator reviews.” Ex. 11 at 12, 16.

14          The EPA OPP’s reliance on ghostwritten papers, seemingly unaware of Monsanto’s role in the

15   publications, further impacts Monsanto’s failure to inform the agency. For example, the EPA noted that
     “[t]he CARC evaluated a total of 54 mutagenicity/genotoxicity studies which included studies submitted
16
     to the agency, as well as studies reported in the two review articles (Williams et al., 2000, and Kier and
17
     Kirkland, 2013).” See Office of Pesticide Programs, Cancer Assessment Document—Evaluation of the
18
     Carcinogenic Potential of Glyphosate at 9 (Oct. 1, 2015) (Monsanto’s Exhibit 10). This uncertainty about
19
     whether the EPA was aware of Monsanto’s role in these publications and whether knowledge of
20
     Monsanto’s role could have altered EPA’s conclusions establishes a disputed issue of material fact that
21
     requires denial of summary judgment. See In re Incretin-Based Therapies Products Liab. Litig., 721 Fed.
22
     Appx. 580, 584 (9th Cir. 2017) (“Uncertainty about whether the FDA considered the ‘new safety
23
     information’ and whether it would have altered the FDA’s conclusion establishes that a disputed issue of
24
     material fact should have prevented entry of summary judgment on the defendants’ preemption claim.”).
25
               5. EPA Registration Does Not Carry the Force of Law.
26
            Monsanto’s reliance upon EPA registrations and determinations is likewise unavailing because
27   (1) registration of a pesticide is not a defense to a misbranding claim and (2) “there's no indication that
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 1   the EPA's approval of Roundup®'s label had the force of law.” Hardeman, 216 F. Supp. 3d at 1038-1039.

 2   FIFRA expressly contemplates that federal courts and juries, rather than EPA, will have the final say in

 3   resolving misbranding claims. 7 U.S.C. § 136n (“The district courts of the United States are vested with

 4   jurisdiction specifically to enforce, and to prevent and restrain violations of, this subchapter.”);
     Hardeman, 216 F. Supp. 3d at 1039 (“And Bates tells us that the EPA’s authority to enforce FIFRA—
 5
     unlike the EPA’s authority to approve all pesticide labeling—isn’t exclusive.”); Compare Wyeth, 555
 6
     U.S. at 570 (citing 21 U.S.C. §§ 331, 332, 334(a)-(b)) (“Moreover, because the statute contemplates that
 7
     federal juries will resolve most misbranding claims, the FDA's belief that a drug is misbranded is not
 8
     conclusive.”). This is why, when the EPA brings an enforcement action for misbranding, the EPA’s
 9
     determination of misbranding is not dispositive—ultimately, a jury must decide the question. To hold
10
     otherwise would effectively render Section 136a(f) meaningless. It would be legally incoherent for
11
     Congress to state that EPA registration is not a defense to misbranding if EPA registration meant the
12
     herbicide was, as a matter of law, not misbranded.
13
               6. It Would Not Be Impossible For Monsanto to Warn About the Risk of NHL with
14                Roundup®.
15          The Office of Pesticide Programs would and currently allows warnings about the risk of NHL

16   associated with glyphosate to be issued to the public. The National Pesticide Information Center

17   (NPIC) is the organization EPA charged with responding to inquiries about the risks of pesticides.

18   The “NPIC is a cooperative agreement between Oregon State University and the U.S. Environmental

19   Protection Agency” that “provides objective, science-based information about pesticides and
     pesticide-related topics to enable people to make informed decisions about pesticides and their use.” 10
20
     The EPA website directs users to the NPIC to find out about the risks of pesticides. 11 Currently, the
21
     NPIC advises consumers of the following in a fact sheet available on its website:
22

23          Is glyphosate likely to contribute to the development of cancer?

24         When high doses were administered to laboratory animals, some studies suggest that
           glyphosate has carcinogenic potential. Studies on cancer rates in people have provided
25
     10
        Ex. 12, About the NPIC, NPIC website, http://npic.orst.edu/about.html;
26
     https://www.epa.gov/safepestcontrol/pesticides-must-be-registered-epa
     11
27      Ex. 13, EPA website, Information on Health Risks of Pesticides,
     https://www.epa.gov/safepestcontrol/pesticides-must-be-registered-epa
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           conflicting results on whether the use of glyphosate containing products is associated with
 1         cancer. Some studies have associated glyphosate use with non-Hodgkin lymphoma. 12
 2
     In its guidance to pesticide manufacturers, the EPA allows the manufacturers to direct consumers to
 3
     the NPIC to obtain information about the health effects of glyphosate. 13 Therefore, not only could
 4   Monsanto inform plaintiffs and the public that glyphosate is associated with NHL via the NPIC, the
 5   EPA encourages them to do just that. 14
 6          The IARC working group that evaluated glyphosate included two scientists from the EPA,
 7   Peter P. Egeghy and Matthew Martin. 15 The Office of Research and Development Branch of the EPA
 8   also reviewed the evidence related to glyphosate and concluded “Bottom line: Based on glyphosate
 9   discussions to date among ORD scientists–where we have not formally discussed a classification–I

10   believe we would be split between ‘likely to be carcinogenic’ and ‘suggestive evidence.’” 16 In the

11   present context, where many EPA scientists believe glyphosate is carcinogenic and where the EPA

12   itself warns consumers and physicians that glyphosate is associated with NHL, there is simply no

13   basis to conclude that the EPA would prevent Monsanto from warning that Roundup® is associated
     with NHL.
14
            Under the facts before the Court, Monsanto’s preemption defense fails in all respects.
15
     Plaintiffs, accordingly, request that the Court deny Monsanto’s motion for summary judgment.
16
           F. Plaintiffs’ Warning Claims Survive Summary Judgment Because There is Ample
17            Evidence that Cancer Risks from Roundup® were known or knowable by the Scientific
              Community at the time of Distribution.
18

19          The Court may swiftly reject Monsanto’s argument that Roundup®’s cancer risk was not known
     or knowable. Defendant has predicated its argument on cherry-picked studies and an intentional
20

21
     12
        Ex. 14, Glyphosate General Fact Sheet, NPIC website, http://npic.orst.edu/factsheets/glyphogen.html.
22   13
        Ex. 15, EPA Label Review Manual, Chapter 15: Company Name and Address, 15-3.
     14
23       Ex. 16, Additionally, in collaboration between the EPA and the Medical University of South
     Carolina, physicians are also warned of the association between glyphosate and NHL. This
24   publication by the EPA, “Recognition and Management of Pesticide Poisonings,” was created “to
     provide healthcare professionals with current consensus recommendations for treating patients with
25   pesticide-related illnesses or injuries.”14.” In the chapter on chronic diseases, the EPA identifies
     glyphosate as one of the pesticides that has a “demonstrated risk” of NHL. Id. at 222.
26   15
        Ex. 17, IARC Monograph 112 List of Participants.
     16
27      Ex. 18, December 7, 2015 email from Vince Cogliano of EPA to Norm Birchfield,
     EPAHQ_0000204, 208.
28
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 1   distortion of the record in an attempt to misdirect the Court. The relevant test is not whether the scientific

 2   evidence uniformly establishes that a cancer risk is known; rather, the standard is whether the potential

 3   risk of cancer was “known or knowable in light of the generally recognized and prevailing best scientific

 4   and medical knowledge at the time of manufacturer and distribution.” Valentine v. Baxter, 68 Cal. App.
     4th 1467, 1483-84 (1999) (emphasis added); see also CACI 1205.
 5
             Roundup®’s cancer risk was first knowable in the 1980s. EPA initially determined that glyphosate
 6
     was apossible carcinogen on March 4, 1985. 17 Prior to that in 1982, an EPA review of a glyphosate rat
 7
     study found a statistically significant increase in lymphocytic hyperplasia and interstitial testicular
 8
     tumors. 18 By 1999, Monsanto possessed a report from Dr. James Parry indicating potential risks
 9
     associated with glyphosate. Although epidemiological studies are not a prerequisite to showing that
10
     Roundup®’s cancer risk was knowable, the epidemiology showed a cancer risk by 2001, in the McDuffie
11
     study. 19 However, in De Roos (2003), the last data collected was in June 1986, demonstrating that
12
     Monsanto could have collected a valid epidemiological study in the 1980s. In short, the general causation
13
     evidence, with which the Court is already intimately familiar, evinces real risk long before 2013—
14   especially when viewed in a light most favorable to Plaintiffs. See Mot. at 14.
15          G. Punitive Damages are Appropriate Where, As Here, a Manufacturer Failed to Warn
               or Take Corrective Action Despite Knowledge of a Danger or Serious Injury. 20
16

17        “In order for a jury to award punitive damages, it need only find that the defendant acted with malice,

18   oppression or fraud.” (Civ.Code, § 3294, subd. (a); Major v. Western Home Ins. Co., 169 Cal.App.4th
     1197, 1225–26 (2009). Under the statute, “malice does not require actual intent to harm. Conscious
19
     disregard for the safety of another may be sufficient where the defendant is aware of the probable
20

21   17
        See EPA, Office of Pesticide and Toxic Substances, Memo “Consensus Review of Glyphosate,”
     dated Mar. 4, 1985. Available at:
22
     https://archive.epa.gov/pesticides/chemicalsearch/chemical/foia/web/pdf/103601/103601-171.pdf
     18
23      See EPA, Office of Pesticide and Toxic Substances, “Summary of the IBT Review Program Office
     of Pesticide Programs (July 1983) February 18, 1982 EPA memo re: Lifetime feeding study in rats with
24   glyphosate, available at http://www.centerforfoodsafety.org/files/epa-1983_41310.pdf.
     19
        See Helen H. McDuffie et al., Non-Hodgkin's Lymphoma and Specific Pesticide Exposures in Men:
25   Cross-Canada Study of Pesticides and Health, 10 Cancer Epidemiology, Biomarkers & Prevention
     1155 (2001).
26   20
        Remarkably, Monsanto never met to discuss placing a warning re carcinogenicity on labels or press
27   releases before IARC’s decision in March 2015. Since then, Monsanto has met 23 times to discuss the
     topic, yet no warnings have been issued to this day. See Monsanto Supplemental Responses to
28   Interrogatory No. 15. Ex. 19.
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 1   dangerous consequences of his or her conduct and he or she willfully fails to avoid such consequences.

 2   Malice may be proved either expressly through direct evidence or by implication through indirect

 3   evidence from which the jury draws inferences.” Pfeifer v. John Crane, Inc., 164 Cal. Rptr.3d 112, 135

 4   (Cal. Ct. App. 2013) (quoting Angie M. v. Superior Court, 44 Cal. Rptr.2d 197, Cal. Ct. App. 1995).
            California law is clear that “the underlying facts supporting a punitive damages award are for the
 5
     jury to decide.” Romo v. Ford Motor Co., 6 Cal. Rptr.3d 793, 805 (Cal. Ct. App. 2003)113 Cal.App.4th
 6
     738, 754 (2003); Johnson & Johnson v. Superior Ct., 121 Cal. Rptr.3d 640, 642 (Cal. Ct. App. 2016) 192
 7
     Cal.App.4th 757, 760–61 (2011) (triable issue of material fact existed as to whether petitioners' failure
 8
     to provide adequate warnings on over the counter medication of risk of rare and skin condition constituted
 9
     malice so as to justify punitive damages, and rejecting argument that defendant “has at all times marketed
10
     and sold Motrin with a label approved by the [FDA] and consistent with the FDA's standards for OTC
11
     medications.”).
12
            California law has long endorsed the use of punitive damages to deter continuation of a
13
     corporation's wrongful conduct. See Johnson v. Ford Motor Co. (2005) 113 P.3d 82, 92-93 (Cal. 2005);
14   Scott v. Ford Motor Co., 169 Cal. Rptr.3d 823, 831-32 (Cal. Ct. App. 2014). Under Civil Code section
15   3294, punitive damages “may be assessed in unintentional tort actions.” Potter v. Firestone Tire &
16   Rubber Co., 863 P.3d 795 (Cal. 1993)(citing Grimshaw v. Ford Motor Co., 174 Cal. Rptr. 348 (Cal. Ct.
17   App. 1981). “Marketing a product that is known to be defective and dangerous to consumers supports an
18   inference of malice for purposes of punitive damages.” Karlsson v. Ford Motor Co., 45 Cal. Rptr.3d 265,

19   288 (Cal. Ct. App. 2006). Likewise, a manufacturer’s failure to warn of the dangers associated with its

20   products may be “sufficient to show malice so as to support punitive damages.” Johnson & Johnson v.

21   Superior Court, 121 Cal. Rptr.3d at 648.

22          California case law contains multiple cases where the court affirmed punitive damages awards
     when manufacturers acted in conscious disregard for the safety of consumers by failing to warn despite
23
     knowing of the risk caused by their products. Even where the risk of harm is relatively slight, and grave
24
     injury may only occur to a small fraction of consumers, punitive damages may nevertheless be warranted
25
     due to the gravity of the potential harm resulting from a widely used product. See, e.g., Boeken v. Philip
26
     Morris Inc., 6 Cal. Rptr.3d 638, 676-77 (Cal. Ct. App. 2005). Nor do punitive damage awards require
27

28
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 1   absolute certainly; “intentionally marketing a defective product knowing that it might cause injury and

 2   death is ‘highly reprehensible.’” Id. (emphasis added; internal quotation marks and citation omitted).

 3          Furthermore, courts have long recognized that punitive damages are warranted when

 4   circumstantial evidence supports an inference that a manufacturer put its own interests ahead of its
     consumers. See Grimshaw, 174 Cal. Rptr. at 385 (“While much of the evidence was necessarily
 5
     circumstantial, there was substantial evidence from which the jury could reasonably find corporate malice
 6
     where the company proceeded with production of a product with knowledge of negative test results”);
 7
     West v. Johnson & Johnson Products, Inc., 174 Cal.App.3d 831, 869 (1985) (affirming award of punitive
 8
     damages where evidence showed that adequate testing would have revealed an association between
 9
     tampon use and toxic shock, that the manufacturer’s testing was inadequate, and that the manufacturer
10
     decided not to do any further testing even when faced with consumer complaints).
11
            Regulatory approval does not immunize Monsanto. Rather, “the existence of governmental safety
12
     regulations does not bar an award of punitive damages for egregious misconduct that they are ineffective
13
     in preventing.” Pfeifer v. John Crane, Inc., 220 Cal. App. 4th 1270, 1301, as modified on denial of reh'g
14   (Nov. 27, 2013). In fact, punitive damages are utilized in California “precisely because ‘[g]overnmental
15   safety standards and the criminal law have failed to provide adequate consumer protection against the
16   manufacture and distribution of defective products.” Buell–Wilson v. Ford Motor Co., 141 Cal.App.4th
17   525, 562 (2006), vacated on other grounds in Ford Motor Co. v. Buell–Wilson, 550 U.S. 931, 127 S.Ct.
18   2250 (2007) 21 (citing Grimshaw, 119 Cal.App.3d at 810). Punitive damages are appropriate even where

19   “there was a ‘reasonable disagreement’ among experts” because “[t]he jury is “entitled to” reject the

20   claims of Defendant’s experts in reaching a verdict on punitive damages. Id. at 559-560.

21          Nor can the testimony of its employees that they did not believe the results of studies showing

22   that GBFs were genotoxic or carcinogenic absolve Monsanto of responsibility. Monsanto has a duty to
     “warn of the potential risks” of GBFs and not just the ones its scientists agree with. See CACI 1205. “If
23
     the sole opinion(s) of one biased actor within that complex system can govern and control the nature,
24
     timing, and dissemination of information, and warnings, the system breaks down.” In re Actos
25

26
     21
27      Although this opinion was vacated with respect to constitutional limits of punitive damage awards,
     the California Supreme Court continues to cite this case with respect to the availability of punitive
28   damage awards. Boeken v. Philip Morris USA, Inc. (2010) 48 Cal. 4th 788, 796.
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 1   (Pioglitazone) Products Liab. Litig., 6:11-MD-2299, 2014 WL 5461859, at *47 (W.D. La. Oct. 27, 2014)

 2   (rejecting argument that subjective belief of Defendant preclude punitive damages).

 3             1. Monsanto Acted With a Conscious Disregard for Human Life.
 4          The California State trial court found the evidence outlined below to be sufficient in the Johnson

 5   case both at the summary judgment phase, Ex. 20, and post verdict, Ex. 21, to support punitive damages.

 6   Plaintiffs plan to submit this and much more evidence, but cannot summarize the entirety of the evidence
     due to page constraints.
 7
            Plaintiffs intend to offer evidence demonstrating that Monsanto: (1) continued to market and sell
 8
     GBFs while failing to warn consumers of a known risk of NHL; (2) did not conduct studies recommended
 9
     by its own consultants; (3) did not evaluate its GBF formulations to determine the risks associated with
10
     surfactants; (4) elected to continue to market products with a POEA surfactant despite knowledge of safer
11
     alternatives; and (5) ghostwrote articles in order to publish positive safety data. This evidence is
12
     sufficient to permit a jury to decide the punitive damages issue.
13
               2. Monsanto’s Scientists Prioritized Profits Over Safety.
14
            Monsanto prioritized money over human safety. On March 13, 1985, nine days after the EPA
15
     proposed to classify glyphosate as a Class C [possible] oncogene, Monsanto’s concern was not about
16
     safety, but rather that “the initiation of formal regulatory action would have serious negative economic
17
     repercussions.” Johnson trial transcript (hereinafter “JT”) Tr. at 3851:20-22, 3996:11-13, Ex. 22. EPA
18   eventually reversed that decision after pressure from Monsanto. For example, Monsanto’s “Product
19   Safety Center” headed by Donna Farmer was aimed, not at product safety, but at “influencing the
20   scientific literature to prevent [Monsanto’s] internal concerns from reaching the public sphere and to
21   bolster its defenses in products liability actions.” Johnson Sargon Order at 45-46. Ex. 20. Johnson trial
22   Ex. 23. Rather than safety, the first priority of Monsanto’s Product Safety Center was to “Secure the
23   Base,” “Defend and maintain the global glyphosate businesses” and “Create Future Growth: Pipeline,

24   Regulatory Approval, Commercial Launch, and Market Expansion.” Id. at 2. And as Dr. Kirk Azevedo

25   (a former employee of Monsanto) testified, Monsanto’s Vice President told him “we’re about making

26   money. So get it straight." JT 1451:20-23. Ex. 22.

27          The evidence further establishes that, as far back 1999, Monsanto was operating covertly to
     influence the science to bolster the safety profile of GBFs. A May 26, 1999 email from Dr. Heydens
28
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 1   described Monsanto’s scientific outreach planning, which involved maintaining a cohort of “outside

 2   scientific experts who are influential at driving science, regulators, public opinion, etc. We would have

 3   the people directly or indirectly/behind-the-scenes work on our behalf.” Ex. 24 at 1. Additionally, this

 4   plan included “[g]et[ing] our data out there so it can be referenced and used to counter-balance the
     negative stuff. In some cases, we may want to publish specific work in certain world areas to help out in
 5
     that region. We may use our experts as authors[.]” Id.
 6

 7             3. Monsanto Disregarded Risk by Refusing to Conduct Studies Recommended By Its
                  Own Consultants.
 8
            In the 1990’s, several published studies concluded that glyphosate was genotoxic.         Monsanto
 9   retained Dr. James Parry, “a recognized genotox expert” to review these independent studies and “[b]ased
10   on his critique of the the genotox papers a decision would be made [by Monsanto] as to expanding or
11   terminating his involvement.” Ex. 25 at 2. Before receiving Dr. Parry’s report, Dr. Farmer conceded that
12   “[t]here is a concern that the papers by Lioi et al, may present an even bigger problem because the studies
13   are with glyphosate and are on [] more standard endpoints.” Id. And yet, in the same email, Dr. Farmer
14   drafted a press release stating that “[s]everal genotoxicity studies have been conducted on glyphosate …

15   None of these studies have shown any adverse findings. Based on all these results, we are confident that

16   glyphosate herbicide products are not genotoxic and therefore to not present a mutagenic or carcinogenic

17   risk to humans and animals.” Id. at 1. It is entirely reasonable for the jury to conclude that these actions
     constitute deliberate deception aimed at misleading the public.
18
            Monsanto’s actions after receiving Dr. Parry’s report support submitting punitive damages to the
19
     jury. After being presented with findings showing real risk, Monsanto questioned whether Dr. Parry “has
20
     ever worked with industry before,” Ex. 8, and confirmed that it was not interested in an independent
21
     evaluation of the safety data. Ex. 26. Dr. Heydens proclaimed that Monsanto was not “going to do the
22
     tests Parry suggests” 22 and elected not to send samples of surfactants to Dr. Parry to conduct his own
23
     testing. Ex. 27. Donna Farmer’s testimony confirmed that because Dr. Parry never came around to
24
     Monsanto’s view of the science, Monsanto would not let him talk to regulators on behalf of the company.
25
     Farmer Dep. 170:8-170:21, Ex. 28. Dr. Mark Martens, who coordinated with Dr. Parry on behalf of
26

27
     22
       Monsanto eventually conducts only one of the eight studies which Dr. Parry suggested. JT 1997:19-
28   22, Ex. 22.
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 1   Monsanto, confirmed that the company never shared Dr. Parry’s report outside of Monsanto. Martens

 2   Dep. at 151:6-151:22, Ex. 29. (“Q…Monsanto never shared the Parry report with any regulatory

 3   agencies, correct? A. That’s correct.”).

 4             4. Monsanto Engaged in Unethical Ghostwriting to Influence Regulators and Mislead
                  the Public Regarding the Safety Profile of Roundup.
 5
            Monsanto’s history of ghostwriting offers strong support for punitive damages because it had the
 6
     effect of polluting the scientific literature. Monsanto, unhappy with Dr. Parry’s report on the genotoxicity
 7
     of glyphosate, elected to surreptitiously write its own report on the genotoxicity of glyphosate and have
 8
     “independent scientists” claim authorship. And Monsanto knew this behavior was unethical—as its own
 9   consultant, John Acquavella, explained in 2015; “We call that ghost writing and it is unethical.” Ex. 30.
10   Dr. Acquavella pointed out the guidelines that “everyone goes by” in determining what is
11   “honest/ethical” in authorship. Id. Monsanto repeatedly ignored those guidelines.
12          Monsanto ghostwrote the Williams paper, rather than continuing with and publishing Dr. Parry’s
13   report. In the Williams paper, Monsanto concluded that "under present and expected conditions of use,
14   Roundup herbicide does not pose a health risk to humans." Heydens Dep. at 402:1-4, Ex. 31. The paper

15   does not identify any Monsanto employee as an author even though William Heydens admitted that

16   Monsanto did “the writing” and the experts just “edit and sign their names, so to speak.” Ex. 33 at 2.

17          The Williams paper had an inevitable direct impact on the literature on glyphosate. In a 2010
     PowerPoint presentation, Monsanto described the Williams (2000) paper as an “invaluable asset for
18
     response to agencies [and] regulatory reviews” and stated that Williams (2000) has “served us well in the
19
     past.” Ex. 11 at 12, 17. Williams (2000) infected the scientific literature. For example, the only biological
20
     plausibility that Monsanto’s epidemiology expert, Dr. Lorelei Mucci, reviewed in reaching her opinions
21
     in Johnson was the summary of studies contained “in the epidemiologic studies.” JT. at 4318:1-5, Ex.
22
     22. This is a problem. In De Roos (2003), which shows a statistically significant doubling of the risk of
23
     NHL with glyphosate, the results were muted by citation to the Williams (2000) article as evidence that
24
     glyphosate is “non-carcinogenic and non-genotoxic.” Id. at 1888:7-11, Ex. 22.
25
               5. Monsanto Continued its Unethical Ghostwriting.
26
            Monsanto’s ghostwriting efforts did not conclude with this single effort. Although Monsanto
27
     noted in 2010 that “Williams has served us well in toxicology over the last decade,” they needed a
28
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 1   “stronger arsenal of robust papers scientific papers.” Ex. 11 at 17. Accordingly in November 2010,

 2   Monsanto started ghostwriting sections of the Williams (2012) paper. Donna Farmer, Monsanto’s lead

 3   toxicologist, confirmed her role, stating: “Attached is the first 46 pages. I added a section in genotox…

 4   am working on a section for gasiner in the mechanistic section…Also we cut and pasted in summaries of
     the POEA surfactant studies.” Ex. 34. Donna Farmer confirmed that her name was removed from the
 5
     list of authors before it was published. Farmer Dep. 118:22-119:06, Ex. 28.
 6
            In 2013, Monsanto ghostwrote another article: Kier & Kirkland (2013). Despite the paper’s
 7
     identified authors, Monsanto documents reveal that David Saltmiras, Monsanto’s Toxicology Manager
 8
     for Regulatory Product Safety Center, served as the original author of the paper. In requesting funding
 9
     for the manuscript, Saltmiras stated that it “will be a valuable resource in future product defense against
10
     claims that glyphosate is mutagenic or genotoxic.” Ex. 35. However, after the initial draft Monsanto felt
11
     that “the manuscript turned into such a large mess of studies reporting genetoxic effects, that the story as
12
     written stretched the limits of credibility among less sophisticated audiences.” Ex. 36. Therefore,
13
     Monsanto determined that a way to “help enhance credibility is to have an additional author on the papers
14   who is a renowned specialist in the area of genotoxicity. Monsanto identified Dr. David Kirkland as the
15   best candidate” and removed David Saltmiras’ name. Id.
16          Due to the “severe stigma” of the IARC classification of glyphosate as a 2A carcinogen, Monsanto
17   decided to ghostwrite a new article to “Provide additional support (‘air cover’) for future regulatory
18   reviews” and for “litigation support.” JE. 391 at 3, Ex. 37. Monsanto decided that the “majority of writing

19   can be done by Monsanto.” Id. at 6. Monsanto’s legal department considered this plan “Appealing” and

20   “best if use big names.” Id. at 11. The ghostwritten article became Williams (2016). In the article,

21   Monsanto lied to the public and regulatory agencies by “claiming that neither any Monsanto Company

22   employees nor any attorneys reviewed any of the expert panel manuscripts prior to submission to the
     journal." Heydens Dep. at 129:1-130:25, Ex. 31. In fact, Monsanto wrote portions of it and had final
23
     say on the edits. Id. at 129:1-130:25, 161:3-166:16. Monsanto’s extensive involvement in this article is
24
     documented in Ex’s 11, 38, 39, 40, 41, 42, 43.
25

26

27

28
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               6. Monsanto’s Ghostwriting Was Specifically Targeted to Combat Repeated Studies
 1                Showing that Glyphosate is Genotoxic
 2          On May 12, 2000, Monsanto became aware of an Abstract from McDuffie, et al., showing an
 3   increased risk of NHL from glyphosate in a Canadian epidemiology study. Ex. 44. Monsanto
 4   Epidemiologist John Acquavella traveled to the conference in August 2000, where he spoke to Dr.

 5   McDuffie and gave her a copy of the ghostwritten Williams (2000) (referred to in memo as Cantox

 6   glyphosate review). Ex. 45. The next year, Donna Farmer congratulated John Acquavella and Dan

 7   Goldstein for being able to get the glyphosate results out of the abstract. Ex. 46 (“the fact that glyphosate

 8   is no longer mentioned in the abstract is a huge step forward – it removes it from being picked up by
     abstract searches!”).
 9
            In a June 11, 2002 memorandum, Drs. Farmer, Goldstein, and Acquavella discussed the state of
10
     science and noted that: “[a]llegations based on results from epidemiologic studies have begun to affect
11
     our freedom to operate … localities have cited epidemiologic findings to ban ‘non-essential use’ of
12
     pesticides, usurping federal regulations that are based on toxicologic data. There are now six published
13
     studies that arguably associate glyphosate and other pesticides with lymphopoietic cancers[.]” Id. at 2
14
     (emphasis added). The memorandum further states, “[n]umerous other studies are ongoing in the U.S.,
15
     Canada, and Europe. The stage is set, therefore, for more allegations about human effects associated with
16
     glyphosate and other pesticides.” Id. at 3 (emphasis added).
17
            In 2003, the DeRoos study was published showing a statistically significant doubling of the risk
18   of NHL after GBF exposure. But Monsanto’s concern was not for its at-risk customers, but rather that
19   the findings “add more fuel to the fire for Hardell, et al.” Ex. 47. Hardell also found an increased risk of
20   NHL with glyphosate. Monsanto stated, “It looks like NHL and other lymphopoetic cancers continue to
21   be the main epidemiology issues both for glyphosate alachlor.” Id.
22          In 2008, the Eriksson study was published showing a statistically significant doubling of the risk

23   of NHL for glyphosate users. Monsanto did not try to warn consumers about this result. Instead Donna

24   Farmer stated “[w]e have been aware of this paper for awhile and knew it would only be a matter of time

25   before the activists pick it up.” Ex. 48. Monsanto was concerned that “activists” based on the Eriksson

26   study were recommending that people “avoid carcinogenic herbicides … on lawns by using non-toxic
     land care strategies that rely on soil health, not toxic herbicides.” Id. Donna Farmer wanted to know
27
     “how do we combat this?” Id.
28
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               7. Monsanto Failed to Test Its Glyphosate Formulations Despite Knowledge that the
 1                Surfactants Were Hazardous and Capable of Promoting Tumors.
 2          Monsanto has failed to identified known carcinogens in formulated Roundup® products on the
 3   product label. In 2002, Mark Martens created a power-point stating “Surfactants are biologically not
 4   ‘inert,’ they can be toxic and this must be addressed.” Ex. 49. Dr. Martens stated that “[t]his in-vivo

 5   genotoxicity finding was cause of concern[.]” Ex. 49 at 15; Martens Dep. at 176:13-16, Ex. 29, (“So

 6   now these are your thoughts that the genotoxicity finding in vivo was of concern, correct? A Yes.”). But,

 7   Monsanto ignored this recommendation and never addressed the carcinogenicity of surfactants. It is

 8   undisputed that Monsanto has never conducted an animal carcinogenicity study on Roundup®; and Donna
     Farmer directed in 2009 that “you [Monsanto’s marketing team] cannot say that Roundup does not cause
 9
     cancer … we have not done carcinogenicity studies with ‘Roundup.’” Ex. 50.
10
            In 2008, Europe was beginning to question the safety of tallow amine (the surfactant used in
11
     RangerPro). There were internal communications deliberating whether to even defend tallow amine in
12
     Europe because “there are non-hazardous formulations, so why sell a hazardous one?” Ex. 51.
13
            Surfactants work with glyphosate through the surfactant’s ability to facilitate the absorption of
14
     glyphosate, thereby increasing carcinogenicity. In response to questions from European regulators,
15
     Monsanto retained TNO, a laboratory in Denmark, to conduct rat skin penetration studies using a
16
     Roundup® formulated product. The TNO study revealed that 5% to 10% of the glyphosate was dermally
17
     absorbed when tested with the surfactant. As these results were far higher than the information submitted
18   to the EPA, Monsanto elected to immediately stop any further work with TNO as the results could “blow
19   Roundup risk evaluations.” Heydens Email, MONGLY03738295, Ex 52. The TNO results were never
20   submitted to the EPA as required under the “adverse effects” reporting requirement in FIFRA, and
21   Monsanto continues to claim that the absorption rate for glyphosate is under 1%. See 7 U.S.C. §
22   136d(a)(2).

23             8. Monsanto Devoted Enormous Resources to Attacking IARC’s Conclusions Instead
                  of Warning The Public of The Cancer Risk.
24
            In October 2014, after Monsanto learned that IARC was going to evaluate glyphosate, Heydens
25
     stated that Monsanto had “vulnerabilities” in all the areas considered by IARC, “namely epi, exposure,
26
     genotox and mode of action.” Ex. 53. In February 2015, a month before IARC actually makes a decision
27
     on glyphosate, Monsanto started developing a plan to “orchestrate outcry over IARC decision.” because
28
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 1   it assumed that data would support either a 2b (possible human carcinogen) or a 2A (probably human

 2   carcinogen). Ex. 54 at 1,5. The “outcry” was intended to reach both “IARC panelists” and “Regulators.”

 3   Id.

 4          Instead of devoting resources to informing people about the risk of NHL, or conducting additional
     tests, Monsanto devoted its vast resources to attacking IARC. This prompted Monsanto employee Steve
 5
     Gould to exlaim that “We are all over it! More resources than I have seen in my career!” Ex. 55. Enormous
 6
     resources were devoted to fighting IARC in California because in a Sept. 2015 cost-estimate prepared by
 7
     Monsanto about the impact of IARC on the sale of Roundup® products to municipalities and school
 8
     districts, Monsanto projected large losses to business. Ex. 56 at 1. Indeed, Mr. Gould noted that
 9
     “[c]ustomers that I am aware have already stopped using Glyphosate since the IARC ruling: Irvine
10
     Unified School District and several bay area cities and school districts.” Id.
11
               9. Monsanto Works with EPA to Kill ATSDR Review of the Risks of Glyphosate.
12
            In evaluating glyphosate the EPA failed to follow its own carcinogenicity guidelines. JT. 4607:23-
13
     4608:13, 4610:1-4, 4620:25- 4611:11 4613:1-3; 4629:15-20, 4631:23-4632:4, Ex. 22. One of the reasons
14
     the EPA failed to follow guidelines was due to inappropriate relationships between certain EPA
15
     employees and Monsanto employees. On April 28, 2015, three months before IARC published the full
16   monograph on IARC, Jess Rowland, head of the Office of Pesticide Programs Cancer Assessment
17   Review Committee told Monsanto’s regulatory lead, Dan Jenkins, that he would find that glyphosate was
18   not carcinogenic before he even reviewed the data. Ex. 57. Rowland stated that “We have enough to
19   sustain our conclusions. Don't need gene tox or epi …I am the chair of the CARC and my folks are
20   running this process for glyphosate in reg review. I have called a CARC meeting in June” Id. at 2. Mr.
21   Rowland further stated that with respect to an ongoing review of glyphosate by the Agency for Toxic

22   Substances and Disease Registry (ATSDR), "If I can kill this [review] I should get a medal.” Id. Dan

23   Jenkins relates to his coworkers that “Jess doing a nice job at EPA.” Ex. 58 at 1. When learning that the

24   National Toxicology Program “appear to have accepted IARC's opinion that glyphosate and its

25   formulations display two characteristics of carcinogens: Genotoxicity and oxidative stress that Ivan
     Rusyn and Christopher Portier worked so hard to create” Dr. Farmer’s colleagues noted that they would
26
     have to bring in Capitol Hill to address the development. Farmer Dep 504:4-506:16, Ex. 28. Monsanto
27
     also used its political connection to influence the findings of the EPA by getting “some key Democrats
28
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 1   on the hill to start calling jim [jones, Assistant Administrator]” which “shoots across his bow

 2   generally that he's being watched.” 59 at 8.

 3          In addition to lobbying the EPA, Monsanto hid essential information from the EPA. For

 4   example, as a policy, Monsanto did not submit reports of its own employees developing NHL after
     handling glyphosate. Ex. 60. Monsanto also admitted it did not submit the Parry reports to the EPA.
 5
     JT. at 1587:15 - 1588:2, Ex 22; Martens Dep. at 151:6-22, Ex. 29.
 6

 7             10. Monsanto’s Actions Were Despicable And Support an Award of Punitive Damages.
            For forty years, Monsanto was faced with good science demonstrating that there was, at a
 8
     minimum, a potential risk of cancer with its product. Rather than take these studies seriously, Monsanto
 9
     actively engaged in a fraudulent campaign to combat this science and try to convince the world that its
10
     product was non-toxic. Monsanto continues to this day to claim its product does not cause cancer, when,
11
     it knows that you “cannot say that Roundup does not cause cancer’” Ex. 50. In light of this admission,
12
     Monsanto’s failure to test its widely used Roundup® products warrants punitive damages.
13
               11. There is Clear and Convincing Evidence That Managing Agents at Monsanto Acted
14                 with Malice and Oppression.
15          An employee need not be high ranking to be considered a managing agent. “[P]rincipal liability
16   for punitive damages does not depend on employees' managerial level, but on the extent to which they

17   exercise substantial discretionary authority over decisions that ultimately determine corporate policy.”

18   Major v. W. Home Ins. Co., 169 Cal. App. 4th 1197, 1221 (2009), as modified on denial of reh'g (Jan.

19   30, 2009) (claims adjuster for contractor of Defendant considered managing agent). “If there exists a

20   triable issue of fact regarding whether a corporate employee is a managing agent under the White test,
     that factual question must be determined by the trier of fact and not the court[.]” Davis, 220 Cal.App.4th
21
     at 366. “There is no requirement that the evidence establish that a particular committee or officer of the
22
     corporation acted on a particular date with ‘malice.’ A Corporate defendant cannot shield itself from
23
     liability through layers of management committees and the sheer size of the management structure.”
24
     Romo v. Ford Motor Co., 99 Cal 1115, 122 Cal.2d 139 (2002) overruled in part on other grounds.
25
            The relevant question under the managing agent inquiry is whether the corporate employees had
26
     significant discretion with respect to the actions that affected the Plaintiff. Major 169 Cal. App. 4th
27
     1197, 1221. (“When employees dispose of insureds' claims with little if any supervision, they possess
28
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 1   sufficient discretion for the law to impute their actions concerning those claims to the corporation.”).

 2   Here, with respect to all of the acts constituting malice claimed by the Plaintiffs, the following

 3   employees acted with significant discretion in the key issues relevant to punitive damages, 1)

 4   communications with the public meant to conceal the risk of GBFs; 2) Ghostwriting studies and failing
     to test formulations and; 3) Undue influence over the EPA.
 5
                   a. Communications with the Public:
 6
            Dr. Farmer testified that she has been working at Monsanto for 25 years and has “been one of the
 7
     spokesperson[s] for the safety of Roundup when it comes to the toxicology.” Farmer Tr. 14:11-13; 15:5-
 8
     7, Ex. 28. She explained, “based on that in-depth knowledge for over those many, yes, I was asked to be
 9
     -- help defend glyphosate.” Id. at 19:3-8. And, as described in Ex. 23, her job was to “[d]efend and
10
     maintain the global glyphosate businesses[.]” Ex. 23. Steven Gould, the Monsanto employee responsible
11
     for providing safety information to San Francisco bay area cities and school districts, stated that he relies
12
     on Donna Farmer for this information. Gould Tr. at 23:04-15, Ex. 61.
13
                   b. Failure to test and Ghostwriting Articles:
14
            Dr. Heydens is Dr. Farmer’s boss. Farmer Tr. at 152:16-19, Ex. 28. Dr. Heydens testified that
15
     he is the “product safety assessment strategy lead” Heydens Tr. at 289:23-290:9, Ex. 31. Dr. Heydens is
16
     also lead of Monsanto’s “product safety center” where he oversaw “the group of scientists … responsible
17
     for demonstrating the safety of Monsanto’s biotechnology portfolio.” Id. at 301:13-18. Importantly it
18   was Dr. Heyden’s responsibility to “devise the overall testing strategy and sets of studies that we would
19   do to support the safety of that product.” Id. at 290:7-9.
20                 c. Inappropriate Relationship with EPA Employees:
21         Daniel Jenkins was Monsanto’s U.S. Agency Lead in Regulatory Affairs, and represented
22   Monsanto before various federal agencies. Jenkins Tr. at 36:6-10, Ex. 62. He was responsible for
23   interfacing with regulatory agencies regarding glyphosate data and making strategic decisions about
24   how interact with the EPA and other regulators. Id.
25         The internal documents demonstrate that these witnesses and the other employees identified in
26   the documents were granted significant discretion in dictating what studies were conducted with GBFs

27   and in dictating what information would be shared with the public and regulators. Monsanto has offered

28   no contrary evidence to suggest these employees were acting outside their scope of employment, or that
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 1   these employees were acting contrary to the direction of Monsanto executives.

 2          The evidence is clear that long ago Monsanto made a choice to remain willfully ignorant of

 3   Roundup®’s cancer risk. Despite knowledge that it was, at a minimum, ignorant of the true Roundup®-

 4   cancer risk, Monsanto avoided the ultimate answer to the question of whether Roundup® causes cancer
     and instead engaged in a decades-long campaign to discredit and obscure. Conduct like Monsanto’s is
 5
     the reason that punitive damages exist in California.
 6
                         PLAINTIFFS’ RESPONSE REGARDING DR. BENBROOK
 7
            Dr. Charles Benbrook’s testimony is directly relevant to the heart of this case. 23 He has spent
 8
     his 40-year professional life immersed in pesticide risk evaluation and related regulatory issues and
 9
     pesticide industry standards of care. Dr. Benbrook has testified before Congress on many of these
10
     subjects, advised pesticide companies, presented on them in a number of academic and professional
11
     settings and published in both peer-reviewed and non-peer-reviewed literature for decades. Dr.
12
     Benbrook has undertaken a painstaking review of the documentary record, and his testimony will assist
13
     the jury in understanding these critical issues.
14         Plaintiffs will not offer expert testimony as a means of regurgitating facts or documents that the
15   jury might otherwise consider directly. Dr. Benbrook is not going to testify as to his interpretation of
16   what Monsanto historically said, his interpretation of Monsanto’s intent or his interpretation of
17   Monsanto’s reasons for taking certain actions or failing to act. Instead, Dr. Benbrook will provide
18   opinions as to Monsanto’s corporate conduct regarding glyphosate-based formulations (“GBFs”) vis-à-

19   vis pesticide industry standards of care based on what Monsanto scientists and officials have said about

20   their actions, inaction, and plans regarding GBFs, in light of his extensive experience in and knowledge

21   of the field. As such, Dr. Benbrook’s testimony is no different than other “standard of care” experts

22   whose testimony is accepted and presented in the regular course of litigation and will assist the jury’s

23
     23
24      These issues include the U.S. pesticide regulatory scheme, the interplay of various pesticide
     regulations, pesticide risk assessment, the chronology of the use, registration and labeling of Monsanto
25   GBFs, Monsanto’s conduct regarding the evaluation of and publication about the risks associated with
     use of its GBFs, Monsanto’s public statements through labeling, advertising and marketing regarding
26
     its GBFs, the differences between the genotoxicity datasets evaluated by EPA and IARC in their
27   respective evaluations of the carcinogenicity of glyphosate, pesticide industry stewardship/ standard of
     care, including industry codes of conduct, Monsanto’s adoption of those codes of conduct and
28   Monsanto’s conduct vis-à-vis those codes of conduct and its GBFs.
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 1   understanding of Monsanto’s statements and conduct in the context of the then-existing regulations and

 2   pesticide industry standards of care adopted by Monsanto.

 3         A. Dr. Benbrook is Highly Qualified to Offer His Designated Opinions.

 4         Dr. Benbrook earned his B.A. in Economics, cum laude, from Harvard University and earned his

 5   M. A. and Ph.D. in Agricultural Economics from the University of Wisconsin in 1980. Just prior and

 6   then immediately subsequent to graduation, Dr. Benbrook served as an Agricultural Policy Analyst for
     the Council on Environmental Quality of the Executive Office of the President. Upon President
 7
     Reagan’s election, he served as Staff Director for the U.S. House of Representatives Subcommittee on
 8
     Department Operations, Research and Foreign Agriculture (DORFA). The DORFA Subcommittee had
 9
     jurisdiction over pesticide regulation and FIFRA. 24 Dr. Benbrook organized hearings on pesticide
10
     regulation conducted by DORFA. 25 In his capacity as Staff Director in the early 1980’s, Dr. Benbrook
11
     was well versed in and devoted a significant portion of his time reviewing and specifically commenting
12
     on the science and policy involved in the regulation of carcinogenic pesticides by the EPA. For
13
     example, in 1983, Dr. Benbrook contributed to the public discussion and analysis of the interface of the
14
     science of pesticide risk assessment and regulatory policy at the EPA in a Letter to the Editor published
15
     in the prestigious journal, Science, in the section, “Carcinogen Policy at EPA.” 26 Dr. Benbrook’s
16   published letter addressed issues that were precisely the issues facing EPA, at that time, in its
17   evaluation of glyphosate’s oncogenicity. Thus, Monsanto’s protestations to the contrary, Dr. Benbrook,
18   in real time, was involved with and had expertise in assessing EPA pesticide regulations and the EPA’s
19   Office of Pesticide Program (“OPP”) assessment of oncogenicity, carcinogenicity, and genotoxicity.
20
     24
        See Kristal Decl, Ex. 63A, Benbrook Johnson trial testimony at 3857-3858.
21   25
        Id. at 3859-3860.
     26
        See, Kristal Decl. Ex. 64B, Benbrook, Carcinogen Policy at EPA, Science, Vol. 219, 798 (1983). Dr.
22
     Benbrook wrote 36 years ago: “A congressional staff investigation of the pesticide regulatory program
23   in the [EPA]… analyzed the scientific basis for several recent regulatory actions taken by the EPA in an
     effort to sort out legitimate scientific refinements in regulatory decision-making from changes in
24   policy. The investigations findings, conclusions, and recommendations are contained in a DORFA
     Subcommittee report …. issued in December 1982….Chapter 6 of the report focuses on regulation of
25   pesticides shown to produce cancer in laboratory animals. An in-depth review of several case studies,
     along with dozens of interviews with staff scientists responsible for analyzing available data on
26
     pesticide oncogenicity, led subcommittee staff to conclude that indeed significant changes had been
27   incorporated in the way the EPA balances and juxtaposes experimental evidence under the aegis of the
     ‘weight-of-evidence’ decision-making.” Id. (emphasis added).
28
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 1          Dr. Benbrook’s career assessing EPA pesticide regulations, policy and evaluation of cancer risk

 2   continued in his next position as Executive Director (1984-1990) of the Board of Agriculture of the

 3   National Research Council (“NRC”) of the National Academy of Sciences (“NAS”). These highly

 4   prestigious organizations were devoted to providing scientific research and guidance to governmental
     agencies. On a number of occasions, Dr. Benbrook, in his position with the NRC, testified before and at
 5
     the request of Congress on issues related to pesticide use, management and risks and the interplay of
 6
     the regulatory schemes controlling the use of pesticides. 27
 7
            In his September 1988 testimony, Dr. Benbrook provided guidance and presented the findings
 8
     of an extensive study, conducted by the NRC, at the request of and to advise the EPA, regarding
 9
     procedures to follow when a pesticide (such as Roundup®) had been classified as a “potential
10
     oncogene” and was used on crops. 28 This book contains sections on and analyses of the oncogenic risk
11
     of pesticides, including a chapter and an appendix on the methodology of estimating oncogenic risks,
12
     sections and analyses on the legal basis for regulation of pesticides, including analyses, requirements
13
     and discussion of FIFRA, the FDCA, the EPA pesticide registration process, the EPA’s classification
14   system for carcinogens, the legislative history of various aspects of pesticide regulation and EPA’s
15   application of various pesticide regulations. The NRC study refers to “Glyphosate (Roundup®)”
16   several times and, specifically, as one of the “potentially oncogenic pesticides identified by the EPA.” 29
17   Thus, Dr. Benbrook, more than three decades ago and completely unrelated to litigation, obtained
18   knowledge of glyphosate, its oncogenic potential, its risks, its uses, and the impact of the applicable

19   regulations on its sale and use. When hearings were held, Dr. Benbrook was the person invited to

20   present the findings and policy recommendations and to summarize the findings of the various experts

21   “in agricultural pest control, pesticide development, agricultural economics, cancer risk assessment,

22   public health, food science, regulatory decision making, and law” 30 who contributed to the study.
             Since serving as Executive Director of NRC, Dr. Benbrook has held appointments with
23
     organizations such as the Johns Hopkins University, Bloomberg School of Public Health, the U.S.
24

25
     27
        See, Kristal Decl. Ex. 65C, Benbrook CV.
26   28
        See, Kristal Decl. Ex. 66D, Benbrook Congressional testimony, September 7, 1988
     29
27      Id. at p.52, Table 3-3, p. 68, Table 3-9, p. 76 Table 3-17, p. 85 Table 3-25.
     30
        Id. at Preface, p. v.
28
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 1   Department of Agriculture Agricultural Biotechnology Advisory Committee and has served as the

 2   Chief Scientist of the Organic Center. 31

 3         Dr. Benbrook has conducted multiple pesticide label reviews for multiple clients of his private

 4   consulting business. 32 He has consulted as a contractor for the EPA. 33 Dr. Benbrook also served as
     chief scientist for the Organic Center where he was responsible for tracking scientific developments on
 5
     the safety of food and the impact of pesticides on the environment. 34
 6
           Over the decades, Dr. Benbrook has presented his evaluations of pesticide risk and regulation
 7
     through the publication of over 40 peer-reviewed articles, many involving issues related to herbicide
 8
     use, risk and regulation and some, specifically on GBFs. 35 Dr. Benbrook is author of a seminal text on
 9
     pesticide use and regulation in America, titled Pest Management at the Crossroads and published in
10
     1996. 36 Dr. Benbrook has also written a variety of reports, papers and book chapters on the subject of
11
     pesticides and pesticide regulations. 37 Dr. Benbrook’s current contribution to the scientific discussion
12
     relating to pesticide risk and regulation and, specifically to that involving glyphosate/Roundup®,
13
     published January 14, 2019, provides a thorough, detailed analysis of the genotoxicity of GBFs and
14   presents the differences in the genotoxicity datasets reviewed by EPA and IARC in their respective
15   glyphosate carcinogenicity reviews. 38
16         As the Court is aware, IARC and EPA have reached different conclusions regarding glyphosate
17   genotoxicity. Dr. Benbrook’s painstaking analysis demonstrates the differences in the genotoxicity data
18   reviewed by these two agencies and has been accepted as a valuable contribution to the scientific

19   community as a whole. A portion of Dr. Benbrook’s expert report and anticipated testimony involves

20   the same subject. Jurors hearing about the differences in conclusions by EPA and IARC would

21   31
        See, Kristal Decl. Ex. 65C, Benbrook Curriculum Vitae
     32
        Id. at 102:6-11.
22   33
        Id. at 69:11-19.
     34
23      See, Kristal Decl. Ex. 63A, Benbrook Johnson trial testimony at 3865-3866
     35
        Ex. 65, Benbrook Curriculum Vitae.
     36
24      See Ex. 88 Dr. Benbrook Expert Report dated November 10, 2018 at 35.
     37
        For example, for the Cal-EPA, Department of Pesticide Regulation, he authored a report entitled,
25   Challenge and Change; A Progressive Approach to Pesticide Regulation in California (1993). For the
     Consumers Union, he authored a paper, Pesticide Management at the Crossroads (1996). For the
26
     Organic Center, Dr. Benbrook authored a report Successes and Lost Opportunities to Reduce
27   Children’s Exposure to Pesticides Since the Mid-1990s (2006). See, Kristal Decl. Ex. C, Benbrook CV.
     38
        See Kristal Decl. Ex. F, Benbrook, How did the US EPA and IARC reach diametrically opposed
28   conclusions on the genotoxicity of glyphosate-based herbicides? Environ Sci. Eur. 31:2, (2019).
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 1   certainly be assisted in reconciling these differences and making factual determinations regarding them

 2   by hearing the same analysis. Dr. Benbrook’s analysis and testimony will greatly assist the jury in

 3   evaluating why the conclusions of EPA and IARC regarding the carcinogenicity of glyphosate are

 4   different.
            B. Dr. Benbrook May Testify About Matters the Jury May Consider in Deciding
 5
               Monsanto’s Intent, Motive, or State of Mind.
 6
             Dr. Benbrook will not opine on Monsanto’s motive, intent, or state of mind. He will provide
 7
     expert testimony regarding factual matters that properly inform the jury’s own determination of motive,
 8
     intent, or state of mind. See United States v. Pacific Gas and Electric Co., 2016 WL 1640462 (N.D.
 9   Cal. 2016) (while an expert witness may not opine as to a corporation’s intent, he or she may testify
10   about corporate practices and policies that the jury may use to ascertain corporate intent).
11          Dr. Benbrook is being offered to do precisely what the court permitted in Pacific Gas: he will
12   apply his own training and experience to the facts and record and testify regarding Monsanto’s
13   practices with respect to GBFs as evidenced in public and internal documents. Dr. Benbrook is not
14   opining as to what Monsanto’s documents mean to him. Rather, as he testified, the portions in his

15   report summarizing Monsanto’s documents are not his personal opinions but are merely statements of

16   fact in the record. 39 Instead of “personal opinions” about emails, Dr. Benbrook’s report is based on a

17   systematic review of the source materials.
            C. Dr. Benbrook May Reasonably Base His Testimony in Part on Monsanto’s Documents
18
               and Employee Testimony, and his Opinions that Rely on those Documents and
19             Testimony Will Be Helpful to the Jury.

20           Monsanto improperly cites Lopez v. I-Flow, Inc., 2011 WL 1897548 (D. Arizona 2011) in

21   challenging Dr. Benbrook. In Lopez, the court excluded testimony from plaintiffs’ regulatory and

22   labeling expert. However, such testimony was excluded, not because it narrated FDA regulations and

23   guidelines, but because it did so without any analysis as to how those regulations and guidelines

24   supported her opinions. Id. at *10. As such, the expected testimony was simply a “narrative of
     selected regulatory and corporate events and quotations...without sufficient explanation.” Id. To the
25
     contrary, Dr. Benbrook will testify as to how the regulations and guidelines he references and relies on
26

27
     39
       See Kristal Decl. Ex. G Benbrook deposition testimony in Johnson v. Monsanto Co., Vol. 2, dated
28   February 9, 2018 at 451-452.
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 1   inform his opinions regarding Monsanto’s conduct as a pesticide manufacturer. This requires the same

 2   “specialized knowledge” which was accepted in In re Yasmin & YAZ (Drospirenone) Mktg., Sales

 3   Practices & Prod. Liab. Litig., 2011 WL 6302287 (S.D. Ill. Dec. 16, 2011). Yasmin rejected the

 4   argument that regulatory expert’s review of corporate emails “does not require the ‘specialized
     knowledge’ contemplated by Rule 702, but rather is mere advocacy on plaintiff's behalf.” Id. at *18.
 5
            Most of the documents referenced by Dr. Benbrook do not “speak for themselves,” but rather
 6
     involve technical and scientific information and require expertise to understand their context. Dr.
 7
     Benbrook must be permitted to assist the jury in understanding documents involving complicated and
 8
     technical matters. See Bryant v. Wyeth, 2012 WL 12844751 at *2 (W.D. Wash. Aug. 22, 2012) (“The
 9
     Court concludes that the great majority of documents... are complicated and references those
10
     documents may or may not support are the legitimate subject of expert testimony. The Court concludes
11
     the proposed testimony is more than just a narrative and may assist the jury at trial. Defendants'
12
     challenges to these experts are issues for cross examination”); Straub v. Breg Inc., 2012 WL 1078335
13
     (D. Arizona, Mar. 30, 2012) (a court may permit an expert to testify as to documents in “explaining the
14   regulatory context in which they were created, defining any complex or specialized terminology, or
15   drawing inferences that would not be apparent without the benefit of experience or specialized
16   knowledge.”).
17          Furthermore, there is nothing improper in providing a factual description of the long history of
18   the issues with GBFs as detailed in the regulatory record. Indeed, “to the extent [plaintiff’s regulatory

19   expert] is summarizing voluminous records and materials, as appears to be the case, this aspect of his

20   testimony is properly admitted under [R.1006] as well as [R.702] in the sense that he is identifying

21   what he, given his background and expertise, considers to be the most salient aspects of those

22   voluminous materials.” In re Testosterone, 2017 WL 1836443, *15 (N.D. Ill. May 8, 2017).
            The record of Monsanto’s failure to act as a reasonable pesticide manufacturer spans decades.
23
     In providing the basis for his opinions, as he was required to do, Dr. Benbrook’s report reflects the
24
     extent of the record.
25

26

27

28
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               D. Dr. Benbrook May Properly Testify Regarding Monsanto’s Duties as a Pesticide
 1                Manufacturer and Has Been Permitted to do so in the Past.
 2
               Dr. Benbrook will offer opinions concerning complex regulatory frameworks applicable to
 3
     Monsanto as a pesticide manufacturer, including its interactions with and representations to the EPA.
 4   The admission of such expert testimony regarding complicated and highly technical regulatory issues is
 5   entirely proper.
 6             In Adams v. United States, 2009 WL 1085481 (D. Idaho Apr. 20, 2009), the court addressed this
 7   issue in the context of examining Dr. Benbrook’s expert testimony in that case. The Adams court found
 8   Dr. Benbrook’s testimony proper and admissible as to “(1)...the general roles of the EPA, the registrant,
 9   and the state in the registration process for pesticides; (2) the general regulatory framework set up by

10   FIFRA; (3) the industry standards and the stewardship duty; (4) the factual circumstances surrounding

11   the 1995 changes to the label and the obtaining of the 24(c) label; and (4) [his] opinions on whether

12   DuPont's conduct satisfied industry standards and any stewardship duty.” Id. at *3. 40 41 Dr. Benbrook

13   intends to testify similarly in this case and there is nothing on this record that should dictate a different
     result.
14
               Moreover, given the knowledge it had at the relevant times, what Monsanto should have done
15
     within the context of these regulations is relevant to the determination of whether Monsanto acted as a
16
     reasonably prudent manufacturer. This testimony will aid the fact-finder, and comes nowhere near
17
     instructing the jury as to legal obligations.
18
               As Dr. Benbrook notes “….as someone who has worked in this field for many years and has
19
     worked on the registration activities of many companies on many different products, there are norms
20
     and standards in the industry that Monsanto pledges that it adheres to, as do most of the other major
21
     companies, as well as statements that Monsanto has made over many years about the safety and
22   properties of Roundup herbicides and their commitment to doing everything possible to assure that they
23
     40
24      See also, Ginena v. Alaska Airlines, Inc., 2013 WL 431827 (D. Nevada 2013) (reasoning that in
     industries with complex regulatory framework, such as the environmental framework at issue in
25   Adams, an expert may be permitted to testify as to industry standards and regulations).
     41
        In a later memorandum decision, the Adams court further explains that Dr. Benbrook has the
26
     expertise necessary to render opinions on how companies use the registration process, how they
27   position their products, how they make labeling decisions and how they make marketing decisions
     regarding those products.
28
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 1   are as effective and as safe as possible. That's the standard to which Monsanto and all pesticide

 2   companies ultimately are held in questions and matters such as this one.” 42 Furthermore, it is

 3   appropriate for Dr. Benbrook to opine, based on the evidence, that Monsanto had a duty to warn

 4   consumers of the risk of NHL. As Dr. Benbrook explains the registrant “knows far more about the
     active ingredient, its properties, its toxicology ... So the agency defers to the registrant and the superior
 5
     and more in-depth knowledge of the registrant whenever a registrant incorporates in a label amendment
 6
     a change ...that their face will reduce exposure and risk.” 43
 7
           E. CONCLUSION
 8
           As described above, Dr. Benbrook brings to this litigation decades of experience in the areas of
 9
     pesticide risk evaluation, related regulatory schemes, and stewardship/standard of care issues relevant
10
     to pesticides. More than thirty years after his first Congressional testimony on pesticide risk assessment
11
     and regulation and after a continued career immersed in the review and publication on the use and risk
12
     of pesticides and regulation, Dr. Benbrook is certainly qualified to provide expert testimony on these
13
     subjects.
14
            Given the Court’s role as gatekeeper and not fact-finder, “the gate could not be closed to this
15
     relevant opinion offered with sufficient foundation by one qualified to give it.” Primiano v. Cook, 598
16   F.3d 558, 568 (9th Cir. 2010). Dr. Benbrook is certainly eminently qualified to testify and assist the
17   jury in performing its required evaluations of the evidence.
18                         PLAINTIFFS’ RESPONSE REGARDING DR. SAWYER
19         A. Dr. Sawyer’s Opinions Are Reliable and Admissible.
20          During the general causation phase of this litigation the Court held that “plaintiffs need not
21   establish any particular level of exposure.” In re Roundup Prod. Liab. Litig., No. 16-MD-02741-VC,
22   2018 WL 3368534, at *5 (N.D. Cal. July 10, 2018). In this phase, it will be helpful for the jury to
23   understand how various factors such as lack of protective gear, the spraying equipment, and the type of

24   surfactant in the Plaintiff’s specific formulation affect the exposure routes of Roundup® into the body.

25   In fact, the Ninth Circuit previously determined that a trial court abused its discretion by excluding this

26   42
        See Ex. 89, Benbrook deposition testimony in Johnson v. Monsanto Co., Vol. 1, dated February 8,
27   2018 at 40.
     43
        See Ex. 90 Benbrook deposition testimony in Johnson v. Monsanto Co., Vol. 2, dated February 9,
28   2018 at 476-477.
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 1   type of helpful testimony by Dr. Sawyer’s that “exposure levels [of a chemical] were “within [a]

 2   reasonable range of that known [from several studies] to induce” the alleged injuries” was admissible.

 3   Whitlock v. Pepsi Americas, 527 F. App'x 660, 661 (9th Cir. 2013). Dr. Sawyer’s qualifications are

 4   listed in his C.V. and attached Declaration. 44 Ex. Sawyer Decl. ¶¶ 2-8.
           B. Dr. Sawyer has not Offered any General Causation Opinions.
 5

 6          Monsanto’s contention that Dr. Sawyer is offering general causation opinions in this case is
     incorrect. Rather, Dr. Sawyer is being offered “to testify on issues concerning the mechanism of
 7
     absorption of glyphosate-based formulations through the skin and other exposure pathways and the
 8
     effect of wearing personal protective equipment on the exposure levels.” See Ex. 70 Expert
 9
     Disclosures. Dr. Sawyer confirmed that “I'm not here to speak on general causation at all;” his opinions
10
     on “dermal absorption, protective gear, or the co-contaminants within the product, et cetera...” are
11
     “directed to all three patients” See Ex. 71 Sawyer Stevick Dep. at 19:7-26:22. He is offering a specific
12
     causation opinion only with respect to Stevick. Id. at 19:15-24. See Ex. 74 Sawyer Decl. at ¶¶ 13, 14.
13
            Dr. Sawyer's testimony regarding absorption and exposure pathways and the effects of wearing
14
     personal protective equipment is not a general causation opinion. A general causation opinion must
15
     establish that the “substance at issue was capable of causing the injury alleged (general causation). . . .”
16   Avila v. Willits Envtl. Remediation Tr., 633 F.3d 828, 836 (9th Cir. 2011). Here, Dr. Sawyer's testimony
17   is proper. Rule 702 “provides that expert testimony is admissible “[i]f scientific, technical, or other
18   specialized knowledge will assist the trier of fact to understand the evidence or to determine a fact in
19   issue.” Avila, 633 F.3d at 836-837.
20          Dr. Sawyer will educate the jury as to how GBFs are absorbed through the skin; how protective
21   clothing can help limit the exposure to GBFs; and how different equipment can affect exposure. See

22   Ex. 71 Sawyer Stevick Dep. at 151:8-17 (“...I found that it was not possible to spray it directly down on

23   weeds without encountering overspray on the ankle/lower leg area because the wand is very short...So I

24   would advise not wearing ankle socks or breathable sneakers in using such a device.”); 161:21-162:3

25   (...she constantly had exposure to her hand from the leakage that was wetting her -- her fingers and
     hand...there was simply no label on the container to recommend the use of gloves and she didn't know
26

27
     44
      Dr. Sawyer has prepared a declaration to clarify the many misrepresentations of his testimony by
28   Defendant.
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 1   any better.”). Dr. Sawyer goes over these factors as they apply to all users in great detail in his report.

 2   See Ex. 72 Sawyer MDL Rep. 44-114, 113 (“Farmers who did not use rubber gloves had five times

 3   more glyphosate in their urine than those wearing protective gloves”). This is objectively useful

 4   information for the jury to determine how GBFs actually get into the body and the factors that impact
     the Plaintiffs’ exposures. For instance, because none of the Plaintiffs wore protective gear due to
 5
     Monsanto’s failure to warn, the effect of protective gear on exposure is relevant, helpful information. In
 6
     short, Dr. Sawyer’s testimony directly addresses critical issues relevant to specific causation.
 7
           C. Dr. Sawyer’s Opinion that Mrs. Stevick’s Exposure to GBFs Was Sufficient For her to
 8            Develop NHL is Reliable.
 9          Monsanto offers no expert testimony and cites no scientific research that would contradict any
10   of Dr. Sawyer’s well-reasoned opinions. Rather, Monsanto’s motion is based on willful ignorance and
11   misrepresentations of the opinions that Dr. Sawyer has offered to date. 45
12
               1. Dr. Sawyer Used Proper Methodology in Assessing Specific Causation.
13         While Dr. Sawyer did not use the words “differential diagnosis” in his report, he utilized this
14   methodology to reach his specific causation opinion on Mrs. Stevick. “Q: And did you, in fact, perform
15   a differential diagnosis to come to your specific causation conclusion in Mrs. Stevick's case? A: Yes. The
16   only -- the only factor that contributes to her NHL is her age, 46 nothing else.” Ex. 71 Sawyer Stevick Dep.

17   at 192:23-193:3. As in the Johnson trial, Dr. Sawyer will opine that Mrs. Stevick’s exposure was

18   sufficient to cause her cancer. Ex. 72 MDL Report at 124. Dr. Sawyer will also testify as to whether other

19   carcinogens were involved and evaluate them on a comparative basis. Ex. 71 Sawyer Stevick Dep.

20   108:12-21, 89:8-90:8.
           With respect to other carcinogens, Dr. Sawyer properly considered the totality of the evidence. Dr.
21
     Sawyer conducted a thorough review of Mrs. Stevick’s family history, age; prior work history;
22
     operational hazards; home hazards; alcohol, tobacco, and drug history; and medical history as stated in
23

24
     45
        Dr. Sawyer testified at length at his deposition that he does not hold any general causation opinions.
25   What he intends to testify to the jury in Hardeman, Gebeyehou, and Stevick are the toxicological
     mechanism effects of the glyphosate with respect to absorption, excretion, co-formulates and
26
     contaminants. Deposition of Dr. Sawyer, Dec. 20, 2018 at 23: 21-24: 2, 25: 9-17, 194:2-7.
     46 Dr. Sawyer did note that the epidemiology studies were age-stratified and there is still an increased
27
     risk in NHL, so that would put Stevick’s risk above the background risk for her age-group. Ex. Id. at
28   246:25-247:12; Ex. MDL Report at 27
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 1   his deposition. Ex. 72 MDL Report at 1-16; Ex. 71 Sawyer Stevick Dep. at 89:8-90:8, 108:12-21.

 2   Furthermore, Dr. Sawyer reviewed all relevant medical records. Ex. 71 MDL Report at 1-10. Dr. Sawyer

 3   conducted a phone interview with Mrs. Stevick to get details on her exposure to Roundup® and other

 4   carcinogens. Id. at 9. Dr. Sawyer read Mrs. Stevick's deposition testimony. Id. at 10. Dr. Sawyer
     compared Mrs. Stevick’s exposure to GBFs to the exposure of subjects in epidemiological studies and
 5
     explained how he will calculate Mrs. Stevick’s dose at trial using the UK POEM methodology. Ex. 71
 6
     Sawyer Stevick Dep. at 43:2-11. Dr. Sawyer also took into account idiopathic causes 47 of Mrs. Stevick's
 7
     cancer when preforming his differential diagnosis. Ex. 71 Sawyer Stevick Dep. at 197:22-198:1.
 8
           After “ruling in” the totality of the evidence, Dr. Sawyer then “ruled out” on a differential basis
 9
     all other non-trivial possible causes of a Mrs. Stevick's NHL:
10
           “The second thing was to determine on a differential basis if I could find any health factors,
11         family history, drug use, smoking, any type of pharmaceuticals such as long-term cortisone
           or implanted tissues which require an immunosuppressant drug, family history, genetic
12         disorders. You know, I looked at all those things and found nothing, including her
           occupational exposures that were sufficient enough to be of merit.
13

14   Ex. Id. at 89:8-90:8, 195:10-18. Dr. Sawyer further opined that the dosage of GBF received by Mrs.
     Stevick was clearly within the range of the human epidemiologic studies of applicators. Ex. 71 Id. at
15
     45:1-3; 198:19-199:10.
16
           Disregarding these facts, Monsanto contends that Dr. Sawyer failed to “rule out” Ms. Stevick's
17
     exposure to other non-GBF carcinogens such as radiation, benzene and mecoprop. Ex. 72 MDL Report
18
     at 1-16; Ex. 71 Sawyer Stevick Dep. at 89:8-90:8, 108:12-21. And although Dr. Sawyer did not rule out
19
     age as a contributing factor, he was not required to do so. See Cooper, 239 Cal. App. 4th at 578.
20
            As to exposure to radiation, Dr. Sawyer testified during deposition that the "13 times or 30 times"
21
     that Mrs. Stevick was exposed to radiation while wearing an "apron and a collar" was nowhere near
22
     enough "millirems to be of any risk." Ex. 71 Sawyer Stevick Dep. 120:3-15. A topic that Dr. Sawyer is
23
     "intimately familiar with." Id. at 120:22. Dr. Lorelei Mucci’s Textbook of Cancer Epidemiology states
24   “there is no evidence that ionizing radiation causes NHL.” Ex. 73. Likewise, Dr. Sawyer took into
25

26   47 Dr. Sawyer also took into account idiopathic causes of Mrs. Stevick's cancer when performing his

27   differential diagnosis based on the epidemiological studies. Ex. Sawyer Stevick Dep. at 197:22-198:1.
     To the extent his consideration of idiopathy is based on epidemiology, he is relying on the
28   epidemiologists. Ex. 74 Sawyer Decl. at ¶¶ 45-48
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 1   account a host of other possible carcinogen exposures: WD-40, GUNK, CRC Lectra cleaner, Armor All,

 2   Scotch Super Adhesive, Cleaning duster, and Liquid Wrench, etc. that Ms. Stevick walked by

 3   occasionally. Ex. Sawyer Stevick Dep. 108:12-15. Moreover, it is very much disputed that Ms. Stevick

 4   was exposed to benzene and mecoprop. Dr. Sawyer stated “it’s just ridiculous to insinuate that any of
     these chemicals contained enough benzene to have any relevance.” Id. at 108:12-21. Ms. Stevick did not
 5
     use mecoprop; her husband did. Id. 155:10-156:9; Ex. Sawyer Decl. at ¶¶ 76-79.
 6

 7             2. Dr. Sawyer is Qualified to use Epidemiology Studies to Form his Opinions.
           Dr. Sawyer is trained in epidemiology and uses epidemiology in his practice. Sawyer Aff. at ¶ 86.
 8
     Ex. 74 And although Dr. Sawyer has been qualified to offer epidemiology opinions in other cases, here,
 9
     Dr. Sawyer will only make use of the epidemiology studies as a means of comparing Stevick's dose to
10
     the dose in the epidemiology studies. Ex. 71 Sawyer Stevick Dep. 241:13-17. He will be deferring detailed
11
     opinions on the epidemiology studies to epidemiologists. Ex. 71 Sawyer Stevick Dep. at 241:11-19.
12
     (Johnson v Monsanto Co., No. CGC-16-550128, 2018 WL 2324413, at *15 (Cal.Super. May 17, 2018))
13
     (allowing Dr. Sawyer to testify that Plaintiff’s exposure was consistent with the epidemiology). 48
14
               3. Dr. Sawyer’s Dose Calculation is Sufficiently Reliable.
15
            Dr. Sawyer bases his dose calculation on a generally accepted pesticide modeling technique, the
16
     UK Predictive Operator Exposure Model. (UK POEM). Monsanto presents no evidence that this model
17
     is unreliable. See, e.g., Nw. Coal. for Alternatives to Pesticides (NCAP) v. U.S. E.P.A., 544 F.3d 1043,
18
     1048–49 (9th Cir. 2008) (rejecting argument that pesticide exposure modeling [a different model then
19   UK POEM] is unreliable where “Petitioners have presented no evidence that modeling does not yield
20   reliable data. There is nothing inherently unreliable about the use of models...”).
21          Monsanto, itself, utilizes the UK POEM modeling on glyphosate when making regulatory
22   submissions. Ex. 72 MDL Report at 18-21. Dr. Sawyer and Monsanto scientists use the UK POEM in
23
     48
24      To the extent Dr. Sawyer’s opinions related to the epidemiological are dependant upon other experts,
     this is entirely proper. See Pulse Med. Instruments, Inc. v. Drug Impairment Detection Servs., LLC, 858
25   F. Supp. 2d 505, 512 (D. Md. 2012) (“[A]n expert may rely on the work of others when preparing an
     expert report, particularly when it is the sort of work that is reasonably relied upon by experts in the
26
     relevant area of expertise”); Beck v. Koppers, Inc., No. 3:03 CV 60 P D, 2006 WL 270260, at *10 (N.D.
27   Miss. Feb. 2, 2006) (“[Dr. William] Sawyer's dosage and risk assessment testimony (as long as the latter
     is based on Dahlgren's general causation testimony) meets the threshold requirements of Rule 702.”).
28
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 1   assessing the exposure of glyphosate because the model is designed for all pesticides. As Dr. Sawyer

 2   explained, “[t]he data I relied upon is using actual spray and measurements of that spray on the body.

 3   Now, whether it's glyphosate or a similar chemical of molecular weight and velocity doesn't matter.” Ex.

 4   75 Sawyer Hall Dep. at 438. In fact, the European Food Safety Authority (EFSA) in its 2015 glyphosate
     evaluation (which Monsanto relies upon) used the UK POEM to estimate operator exposure to
 5
     glyphosate. 49 And, the 2015 Greim article cites the UK POEM, too, stating, “Systemic exposure of
 6
     operators, as assessed for the EU reapproval of glyphosate, is predicted to be between 0.0034 (German
 7
     BBA model, tractor-mounted ground-boom sprayer) and 0.226 mg/kg bw/day (UK POEM, hand-held-
 8
     spraying to low targets, data not shown).” 50
 9
           The UK POEM is recognized by EFSA as an available and reliable exposure modeling technique.
10
     Sawyer Decl. at 64. The latest regulatory body to review the UK POEM notes that it “is an internationally
11
     developed model based on a robust dataset.” Id. at 67.
12
            In direct contradiction to Monsanto's allegation that Dr. Sawyer put the wrong inputs into some
13
     of his POEM calculations, Dr. Sawyer actually presents a range of dermal absorption rates from 1% to
14   10%. It is Dr. Sawyer’s opinion that the absorption rate ranges from 3 to 10 percent based on the findings
15   of two in vivo primate studies; one human skin study and one rat skin study. 51 Ex. 71 MDL Report at 59-
16   66; 119-120. Ex. 74 Sawyer Decl..
17          In arriving at this absorption range, Dr. Sawyer correctly applies generally accepted guidelines
18   from the OECD that “[t]he current default approach taken by nearly all regulatory agencies is to

19   determine the dermal absorption value by adding the absorbed dose and the chemical remaining in the

20   skin, following washing” Ex. 72 MDL Report at 93. As Dr. Sawyer notes, Monsanto studies demonstrate

21   that “much of the test material [glyphosate] may in some way bind to or in the skin and cannot be removed

22   by washing” Ex. 72 MDL Report at 60. Monsanto scientists internally confirmed Dr. Sawyer’s opinion.

23   49
        EFSA, “Conclusion on the peer review of the pesticide risk assessment of the active substance
24   glyphosate”, p. 41 (2015) available at:
     https://efsa.onlinelibrary.wiley.com/doi/epdf/10.2903/j.efsa.2015.4302
25   50
        Greim, et al., “Evaluation of carcinogenic potential of the herbicide glyphosate, drawing on tumor
     incidence data from fourteen chronic/carcinogenicity rodent studies” Crit Rev Toxicol. 2015 Mar 16;
26
     45(3): 185–208. https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4819582/
     51
27      The TNO rat study was not deemed unreliable, rather, Monsanto prohibited the study from
     continuing because “of the potential for this work to blow Roundup risk evaluations (getting a much
28   higher dermal penetration than we've ever seen before.)” Id. 108-110.
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 1   For example, a Monsanto toxicologist stated in a 2003 email that “we know now, 5-20% of the dose of

 2   glyphosate could be stored in the skin...I think we should be really happy if the regulators allow us to use

 3   the 3% derm pen values.” Ex. 72 MDL Report at 22. MDL Report at 22. Dr. Sawyer does not agree that

 4   human cadaver skin studies referenced by Monsanto more closely approximates the human experience.
     Ex. Sawyer MDL Rep. at 58, 67-88. Dr. Sawyer extensively explained why these studies fail to follow
 5
     established guidelines. Id.
 6
            Finally, Dr. Sawyer uses the UK POEM, not to establish a threshold dose for causation, but to
 7
     compare whether Ms. Stevick’s exposure to glyphosate is similar to that of professional users. Under the
 8
     UK POEM based on studies examining professional and amateur applicators, home users are shown have
 9
     a higher rate of exposure than professional users due to the equipment used and lack of protective gear.
10
     Ex. 74 Sawyer Decl. at 71; Ex. MONGLY01075506, Appendix 8-14 (Under the UK POEM methodology
11
     based on a 3% absorption, professional users have a range of doses from 0.066 to 0.67 mg/kg over 6
12
     hours (0.011 - 0.11 mg/kg/hr) compared to a dose of 0.12 mg/kg for residential users after 30 minutes
13
     (0.24 mg/kg/hr.) ; Ex. 77 Sawyer Johnson Rep. 151-152 (highest doses for professional users at 3% and
14   6 hours use is 1.38 mg/kg/hr (0.23 mg/kg/hr). Ex. 71 Sawyer Stevick Dep. at 132:13-17 (Stevick dose
15   at 0.239 mg/kg/hr).
16
           D. Dr. Sawyer May Rely on and Explain Technical Details Contained in Internal
17            Monsanto Documents.
18
           Plaintiffs agree that Dr. Sawyer will not testify about Monsanto’s corporate intent, but Dr. Sawyer
19
     will discuss the scientific findings, opinions and data contained in internal Monsanto documents. Experts
20   may rely on and discuss corporate documents if the documents are relevant to their opinions. See In re
21   Seroquel Prod. Liab. Litig., No. 6:06-MD-1769-ORL-22D, 2009 WL 3806436, at *4 (M.D. Fla. July 20,
22   2009). Also, there is “nothing particularly unusual, or incorrect, in a procedure of letting a witness relate
23   pertinent information in a narrative form as long as it stays within the bounds of pertinency and
24   materiality.” In re Yasmin, 2011 WL 6302287, at *18.
25            The emails cited by Dr. Sawyer in his report are filled with technical knowledge that would not

26   be easily comprehended by a lay juror. For example, the following phrases need expert explanation:

27
           Even though we can absorb additional 'uncertainty factors' in our risk assessment based on
28         our biomonitoring results, I feel uncomfortable with this discussion. This approach by
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           Spain sets a precedent and contradicts the fact that we always claimed to fully understand
 1         the glyphosate pharmacokinetics. The Wester IV experiment suggests that almost the entire
 2         'systemically' available dose was excreted in urine. The low dose topical in vivo experiment
           suggests that almost the entire dose (82%) that was absorbed through the skin was excreted
 3         in feces (3.6% feces versus 0.8% in urine).

 4   Ex. 71 MDL Report at 96.
           E. Dr. Sawyer May Testify About Ethics in Toxicology.
 5
            Sawyer is qualified to explain that toxicologists are “ethically bound to perform certain duties,
 6
     regardless of the outcome of the specific test,” and not to “adjust the evidence to meet a predetermined
 7
     outcome.” Ex. 74 Sawyer Aff. Dr. Sawyer can opine on the effect of the failure of Monsanto scientists
 8
     to follow the ethical code of toxicologists. Johnson v Monsanto Co., No. CGC-16-550128, 2018 WL
 9
     2324413, at *16 (Cal. Super. May 17, 2018) (denying Monsanto’s motion to exclude Dr. Sawyer’s
10
     testimony; “with respect to the impact of non-compliance with the ethical obligations owed by
11
     toxicologist, Monsanto has not demonstrated that Dr. Sawyer disclaimed any such opinions.”); see also
12
     MAR Oil Co. v. Korpan, 973 F. Supp. 2d 775, 785 (N.D. Ohio 2013) (Testimony pertaining to breaches
13
     of ethical codes is admissible).
14         F. Dr. Sawyer Properly Revised His Calculation.
15
        Dr. Sawyer did decide that 50 kg was a reasonable measure for Stevick’s weight based on Sullivan’s
16
     report and the fact that Stevick’s current weight of 55 kg was due to the fact that she gained weight around
17   the time of her cancer; after using GBFs. Ex.71 Sawyer Stevick Dep. at 222:6-223:20. Furthermore it
18   has little bearing on his opinion as it affects the dose by only 10%. Ex. 74 Sawyer Decl. at ¶¶ 98-99.
19   There is nothing inappropriate in revising his calculations in such a manner. Contrary to Monsanto's
20   allegations, “There is no stigma attached to such error correction, nor should there be. If anything, it
21   strengthens the quality of the expert report.” Crowley v. Chait, 322 F. Supp. 2d 530, 540 (D.N.J. 2004);

22   United States v. Tarwater, 308 F.3d 494, 505 (6th Cir. 2002); Davis v. United States, No. CV 07-00461

23   ACK-LEK, 2009 WL 10702627, at *5 (D. Haw. Apr. 24, 2009).

24                        PLAINTIFFS’ RESPONSE REGARDING JAMES MILLS

25          Monsanto’s financial circumstances are a relevant consideration for punitive damages under
     California law. While the math involved is not overly complex, an understanding of the data requires
26
     expertise to assist the jury. Indeed, jurors are unfamiliar with and therefore unable to interpret many of
27
     the ordinary, but complicated, financial documents relevant to Monsanto’s finances. This is the very
28
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 1   conclusion other courts have made in similar major product liability litigations. See In re Yasmin, 2011

 2   WL 6732819, at *7 (S.D. Ill. Dec. 16, 2011); In re E. I. Du Pont De Nemours and Company C-8 Personal

 3   Injury Litigation; 2015 WL 13767600, at *8-9 (S.D. Oh. Aug. 11, 2015).
           A. James Mills is Qualified to Testify.
 4

 5          Monsanto incorrectly claims that James Mills is not qualified to testify as an expert witness. Mr.

 6   Mills has a Master of Arts degree in applied economics. He is a senior economist with Robert W. Johnson
     & Associates and belongs to various professional associations. He has been qualified and has testified
 7
     as an expert economist in many cases. Because Mr. Mills demonstrates expertise in the field of
 8
     economics he is qualified to discuss Monsanto’s major financial information.
 9
           B. Mills’ Report and Opinions
10
            Mr. Mills was retained to frame the financial condition of Monsanto based upon its financial data
11
     including 10-K reports, proxy statements, 8-K report, and news releases. Should the jury find evidence
12
     sufficient to warrant punitive damages, Mr. Mills will provide the information he gleaned from the
13
     financials, which includes net worth, cash on hand, research and development expenditures, advertising
14
     expenditures, and the cost of the recent acquisition of Monsanto by Bayer. He will explain to the lay jury
15
     the definitions and interpretations of these indicators. This data will provide the jury with a financial
16
     picture of Monsanto for consideration in assessing the total amount of punitive damages.
17
               1. Monsanto’s Financial Condition is Relevant to Punitive Damages.
18
            Monsanto’s financial condition is an issue for the jury to consider when determining the amount
19
     of punitive damages. In assessing punitive damages, a jury must consider the impact of the award on the
20
     defendant “in light of the defendant's financial condition,” because the deterrent function of punitive
21   damages will not be served if the financial condition of a defendant allows it to “absorb the award with
22   little or no discomfort.” Adams v. Murakami, 54 Cal.3d 105, 113 (1991). See also Bertero v. Nat'l. Gen.
23   Corp., 13 Cal.3d 43, 65 (1974).
24          The consideration of “financial condition” under California law does not involve any rigid focus
25   on any one indicator of financial condition. “Various measures of a defendant's ability to pay a punitive
26   damages award have been suggested,” but the Supreme Court has declined “to prescribe any rigid

27   standard for measuring a defendant's ability to pay.” Adams, 54 Cal.3d at 110, 116 n.7. A jury may assess

28   a defendant’s ability to pay by reference to the defendant's past profits from the wrongdoing and its
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 1   current gross or net wealth, sales or income, as well as its net worth. See, e.g., Vallbona v. Springer (4th

 2   Dist. 1996) 43 Cal.App.4th 1525, 1540-41 & n.19; Vossler v. Richards Mfg. Co. (5th Dist. 1983) 143

 3   Cal.App.3d 952, 967-68 (noting relevance of “figures on gross sales, gross income, or gross wealth”);

 4   Bankhead v. ArvinMeritor, Inc. (2012) 205 Cal. App. 4th 68, 85, 139 Cal. Rptr. 3d 849 (upholding a
     punitive damage testimony beyond net worth including 10-K reports, proxy statements, cash flows, sales,
 5
     and executive compensation). Thus, California courts strongly support presentation of the full financial
 6
     condition of a company instead of simply stipulating to “net worth.”
 7

 8              2. Mr. Mills’ Opinion is Reliable and Helpful For the Jury.
             Monsanto argues that Mr. Mills is performing no function beyond reading simple documents that
 9
     are comprehensible to a layperson and that Mr. Mills relies on “publicly available” information. Id.
10
     However, the “public” or “private” nature of a document has no bearing on whether it is within the
11
     understanding of a layperson. Moreover, because Monsanto was a publicly-traded company at all relevant
12
     times, it is to be expected that the vast majority of its financial data is “publicly available.”
13
             Interpretation and analysis of the type of financial information Mr. Mills analyzed in this litigation
14
     is a technical and specialized field. The average juror would not be able to review Monsanto’s Securities
15
     and Exchange Commission (SEC) filings, proxy statements, and news releases, to reach an informed
16   conclusion as to the company’s financial condition. In particular, Mr. Mills safeguards the jury from
17   misinterpreting such information and specifically summarizes data that California courts have found
18   relevant to the punitive damages inquiry.
19           The Southern District of Illinois decision in In re Yasmin, illustrates the value of Mr. Mills’ expert
20   testimony regarding the financial condition of a large company. 2011 WL 6732819, at *7 (S.D. Ill. Dec.
21   16, 2011). In Yasmin, Robert Johnson, a colleague of Mr. Mills, offered similar testimony regarding the

22   financial condition of Bayer. Id. *7. Bayer sought to exclude Mr. Johnson's testimony on the same

23   grounds Monsanto asserts here, arguing that it was unhelpful to the jury. Id. The court rejected the

24   argument and held:

25          Clearly, it is generally more helpful to the trier of fact and efficient for the Court to present
            voluminous information in the form of a summary. However, the jury requires someone in
26          possession of the necessary knowledge and expertise to explain the relevant summaries
            and charts.
27          Although concededly comprehensible, the Court finds Johnson's report assists the trier of
            fact in its analysis of issues relevant to the dispute. As explained previously, evidence of
28
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            Bayer's total wealth is relevant and admissible as it pertains to a possible punitive damages
 1          award in each individual plaintiff's case. Accordingly, to allow the jury to assess Bayer's
 2          wealth with any level of accuracy, an expert is required to determine Bayer's total wealth
            and explain his or findings in a manner helpful to the trier of fact. Thus, the Court finds
 3          Johnson's report is helpful to the trier of fact as it converts currency forms of various
            documents and then uses generally-accepted economic formulas to determine Bayer's total
 4          wealth; a task not within the general ability of a layperson. Therefore, Johnson's report
            satisfies the requirements of Fed. R Evid. 702 and Daubert. As such, it is admissible.”
 5

 6   Id. (citations omitted). Similarly, Mr. Mills’ qualifications allow him to select, review, and summarize
     the documents that identify Monsanto’s financial condition and aid the jury in their interpretation.
 7
            Monsanto, relying upon Voilas v. Gen. Motors Corp., argues that Mr. Mills’ testimony will invade
 8
     the province of the jury. 73 F.Supp.2d 452 (D.N.J.1999). But in Voilas, the court excluded expert
 9
     testimony offering three different calculations of punitive damages. Id. Here, Mr. Mills intends to solely
10
     discuss Monsanto’s financial condition; his testimony does not entail a punitive damages calculation. Ex.
11
     78, 31:9-12. (“So it's my understanding that an amount of punitive damages -- if punitive damages were
12
     found -- would be within the purview of the trier of fact.”). Accordingly, because Mr. Mills will not make
13
     a recommendation as to as appropriate punitive damages award in this case, his testimony does not usurp
14
     the role of the jury.
15
             Further, Monsanto argues that Mr. Mills’ testimony should be excluded because the figures he
16   seeks to present are not representative of Monsanto’s actual ability to pay. However, this only illustrates
17   why Mr. Mills’ testimony is helpful to a jury: he has the expertise and specialized knowledge to select
18   and analyze the relevant financial metrics and put this information into a context that enables the jury to
19   evaluate Monsanto’s ability to pay. According to Monsanto’s logic, the jury would be better off if
20   Plaintiffs simply handed the jury all of Monsanto’s publicly-available financial information without any
21   guidance or contextual analysis. And, to the extent Monsanto disputes Mr. Mills’ selection (and non-

22   selection) of certain financial numbers and metrics, Monsanto’s appropriate recourse is to challenge Mr.

23   Mills’ choices on cross-examination—not seek to exclude his entire testimony. See Daubert v. Merrell

24   Dow Pharmaceuticals, Inc., 509 U.S. 579, 596 (1993).

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 1                       PLAINTIFFS’ RESPONSE REGARDING MR. GEBEYEHOU

 2         A. Mr. Gebeyehou’s Claims Are Not Time-Barred.

 3          Monsanto’s contention that Mr. Gebeyehou’s personal injury claims accrued based on purported

 4   discovery in 2014 is simply unfounded. The 2014 time period Monsanto identifies is before the IARC

 5   assessment and the publication of the Greim paper which, for the first time, made public the

 6   toxicological data generated by industry related to glyphosate. As explained below, Mr. Gebeyehou, as
     a layperson, did not and reasonably could not have discovered that his Roundup® exposure caused his
 7
     illness until he received some credible confirmation of his suspicion. Whether the Court applies the
 8
     statute of limitations under Cal. Civ. Proc. Code § 335.1 (for personal injury claims) or Cal. Civ. Proc.
 9
     Code § 340.8 (exposure to hazardous materials or toxic substances), the outcome is the same.
10
     Moreover, the issue of Mr. Gebeyehou’s discovery of the salient facts supporting his claims is a
11
     question of fact that should be resolved by the jury. Thus, summary judgment on this argument is
12
     inappropriate.
13
               1. Mr. Gebeyehou Did Not and Could Not Have Discovered the Association Between
14                NHL and Roundup® in 2014.
15                    a. Cal. Civ. Proc. Code § 340.8 Applies to the Instant Case.

16          Contrary to Monsanto’s argument, the applicable statute of limitations in this case is not Cal.
17   Civ. Proc. Code § 335.1, but Cal. Civ. Proc. Code § 340.8. “Nothing in the statute limits its provisions
18   to environmental hazards.” See Nelson v. Indevus Pharm., Inc., 142 Cal. App. 4th 1202, 1209 (2006)
19   (noting, in a pharmaceutical case, that according to the clear language of the statute, [CCP 340.8]

20   applies to “any” civil action “for injury or illness based upon exposure to a hazardous material or toxic

21   substance.”) (internal citation and quotation marks omitted).

22          Cal. Civ. Proc. Code § 340.8 provides that a civil action for personal injuries based on exposure
     to a hazardous or toxic substance must be commenced:
23
           no later than either two years from the date of injury, or two years after the plaintiff
24         becomes aware of, or reasonably should have become aware of, (1) an injury, (2) the
25         physical cause of the injury, and (3) sufficient facts to put a reasonable person on inquiry
           notice that the injury was caused or contributed to by the wrongful act of another,
26         whichever occurs later.

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 1   Mr. Gebeyehou sued Monsanto within the above-proscribed time frame: Mr. Gebeyehou did not know,

 2   nor did he have sufficient facts reasonably to put him on notice of, the causal connection between his

 3   Roundup® use and NHL diagnosis until March 2016 when his physician friend sent him an email about

 4   the IARC Monograph 112. Ex. 80 Gebeyehou Dep. 55:1-6.
           Monsanto bases its entire argument on three purported facts: (1) that Mr. Gebeyehou saw an
 5
     episode of the Dr. Oz show in September 2014 that raised his suspicion that Roundup® use could cause
 6
     cancer; (2) that he conducted Internet research and found an article linking cancer and Roundup® use,
 7
     and sent it to his oncologist asking if his Roundup® use could have caused his NHL; and (3) that he
 8
     reduced his Roundup® use after hearing “rumors” about Roundup®’s potential carcinogenicity. (MSJ at
 9
     21-25). None of these facts supports accrual of the statute of limitations.
10
            First, the September 22, 2014 Dr. Oz episode Monsanto references was not about Roundup®;
11
     the episode was about a “brand-new GMO pesticide” called Enlist Duo manufactured by Dow, which is
12
     a combination of glyphosate and 2,4-D. Season 6, Episode 11: New GMO Pesticide Doctors Are
13
     Warning Against (aired: 9-22-2014) (https://www.doctoroz.com/episode/new-gmo-pesticide-doctors-
14   are-warning-against?video_id=3794878213001). The episode’s purpose appears to have been to
15   provide general information to the public about the ways in which the agrochemical, biotechnical, and
16   pesticide industries pose dangers to human health and the environment. Importantly, the show did not
17   address a correlation between Roundup® use and NHL.
18         Second, Mr. Gebeyehou’s September 24, 2014 email to his oncologist, attaching an article about

19   Roundup® use and cancer, again shows only that, at that time, Mr. Gebeyehou was undertaking a

20   reasonable inquiry about whether there was a plausible link between Roundup® use and NHL. Rodale,

21   Inc., the publisher of the article, was a health and wellness magazine that is no longer in business. It

22   was not a scientific journal, the article was not written by a doctor or scientific researcher, and there are
     no citations to the papers referenced in the article for Mr. Gebeyehou to access and review. He thus sent
23
     an inquiry to the only person he believed could provide the answer—his oncologist, see Ex. 80
24
     Gebeyehou Dep. 126:19-25—who rejected Gebeyehou’s suspicion. Mr. Gebeyehou testified that the
25
     statement in his email that he was 95% certain that Roundup® caused his NHL was an exaggeration to
26
     get his oncologist’s attention. Ex. 80 Gebeyehou Dep. 57:15-19. Further, Monsanto omits the
27
     undisputed fact that Dr. Pai, his oncologist, responded to Mr. Gebeyehou’s email about other matters
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 1   but did not respond to or address Mr. Gebeyehou’s comment about Roundup® and NHL. Ex. 79 Pai

 2   Dep. at 48:15-49:5. Indeed, Dr. Pai essentially dismissed Mr. Gebeyehou’s concern altogether:

 3   “Typically, my common response to most of my patients usually is that there’s a difference a lot of

 4   times between association and causation, and at this point, just from our scientific journals where I get
     most of my information from, there isn't any -- there wasn't any obvious link [between Roundup® and
 5
     NHL] that I was aware of at the time.” Ex. 79 Pai Dep. at 50:8-13. Dr. Pai also did not tell Mr.
 6
     Gebeyehou to stop using Roundup®. Ex. 79 Pai Dep. at 51:19-21. Mr. Gebeyehou had no independent
 7
     scientific information or any reason to question his physician’s response. Thus, Mr. Gebeyehou’s
 8
     inquiry in 2014 was unsubstantiated and he continued to use Roundup®.
 9
           Third, Mr. Gebeyehou’s reduced use of Roundup® in 2014 is irrelevant. If Mr. Gebeyehou had
10
     reasonably believed Roundup® likely caused his NHL in 2014, he would have ceased using it altogether
11
     as he did in 2016 when his suspicion was confirmed. And Mr. Gebeyehou’s reduced Roundup® use in
12
     2014 is neither surprising nor relevant to the discovery inquiry given his illness. For example, during
13
     the 2014 summer, he could hardly walk 150 yards. Ex. 80 Gebeyehou Dep. at 121:1-4.
14                 b. Even If Cal. Civ. Proc. Code § 335.1 Applies, Mr. Gebeyehou’s Cause of Action
                      Did Not Accrue in 2014.
15

16          Even if the Court were to apply Cal. Civ. Proc. Code § 335.1 as Monsanto argues, “[p]roduct

17   liability claims brought under either negligence or strict liability theories are [also] subject to delayed

18   accrual under the discovery rule.” Fox v. Ethicon Endo-Surgery, Inc., 35 Cal. 4th 797, 809 (2005)
     (citations omitted). It is well settled that “under the delayed discovery rule, a cause of action accrues
19
     and the statute of limitations begins to run when the plaintiff has reason to suspect an injury and some
20
     wrongful cause.” Id. at 803. California courts are clear that in order to bring a cause of action, “plaintiff
21
     must be aware of her injury, its factual cause, and sufficient facts to put her on inquiry notice of a
22
     negligent cause of action.” Clark v. Baxter Healthcare Corp., 83 Cal. App. 4th 1048, 1057-59 (2000)
23
     (noting that plaintiff who suffered an adverse reaction to latex gloves in 1993 did not have notice of the
24
     defendant’s wrongdoing until 1995 when she received a flyer regarding latex allergy litigation despite
25
     consulting an allergist in 1994 who suggested she may be allergic to latex gloves).
26
            The same arguments above apply to the discovery rule applicable to Cal. Civ. Proc. Code §
27   335.1. Mr. Gebeyehou did not and could not reasonably have obtained sufficient facts to know that
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 1   Roundup® was the cause of his illness prior to the IARC’s classification of glyphosate as a 2A

 2   carcinogen on March 20, 2015. More specifically, Mr. Gebeyeheou did not actually discover the facts

 3   supporting his cause of action prior to the IARC Monograph 112, which he only learned in March 2016

 4   when a physician friend sent him an email about it. Ex. 80 Gebeyehou Dep. 55:1-6.

 5             2. Monsanto’s Fraudulent Concealment Tolls the Statute of Limitations.

 6          California’s fraudulent concealment doctrine also tolled the statute of limitations on Mr.
     Gebeyehou’s claims. “In order to establish fraudulent concealment, the complaint must show: (1) when
 7
     the fraud was discovered; (2) the circumstances under which it was discovered; and (3) that the plaintiff
 8
     was not at fault for failing to discover it or had no actual or presumptive knowledge of facts sufficient
 9
     to put him on inquiry.” Baker v. Beech Aircraft Corp., 39 Cal. App. 3d 315, 321 (1974) (citation
10
     omitted). Mr. Gebeyeheou’s case satisfies all three prongs. See Gebeyehou Compl. ¶¶ 115-118.
11
            The basis of the fraudulent concealment doctrine is that “the defendant, having by fraud or
12
     deceit concealed material facts and by misrepresentations hindered the plaintiff from bringing an action
13
     within the statutory period, is estopped from taking advantage of his own wrong.” Baker, 39 Cal. App.
14
     3d at 322-23 (internal quotation marks and citation omitted). There is voluminous evidence that
15
     Monsanto ghostwrote scientific papers to confront an increasing body of science, including the IARC
16   assessment, that glyphosate causes cancer. 52 After consistently promoting the safety of its Roundup®
17   products for years, via its website, advertisements, commercials and labels, and withholding scientific
18   data concerning the carcinogenicity of glyphosate and GBFs from the EPA and the public generally,
19   Monsanto cannot now claim that Mr. Gebeyehou ought to have somehow discovered the facts
20   underlying his claim in 2014. 53 This is especially the case here, where Mr. Gebeyehou regularly visited
21   Monsanto’s website where he was likely subject to Monsanto’s deceptive representations. See Ex. 80

22   Gebeyehou Dep. 159:1-9.

23

24
     52
        Evidence of Monsanto’s ghostwriting is outlined in Plaintiffs’ Response to Monsanto’s Motion In
25   Limine No. 2: Ghostwriting and incorporated herein.
     53
        For the same reasons, Monsanto is equitably estopped from arguing that Mr. Gebeyehou should have
26
     discovered the cause of his NHL when Monsanto, to this day, manipulates the science about glyphosate
27   and touts Roundup’s®safety. See, e.g., Lomeli v. Costco Wholesale Corp., No. 11-CV-2508-
     MMA(KSC), 2012 U.S. Dist. LEXIS 55913 (S.D. Cal. Apr. 20, 2012).
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           B. Summary Judgment Is Unavailable Because Material Facts Are Disputed.
 1

 2          The crucial issue of when Mr. Gebeyehou sufficient facts to know or reasonably be put on
     notice that Roundup® was the cause of his NHL is, at minimum, a question of fact for the jury to decide
 3
     and necessitates denial of Monsanto’s summary judgment motion. “When a plaintiff reasonably should
 4
     have discovered facts for purposes of the accrual of a cause of action or application of the delayed
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     discovery rule is generally a question of fact, properly decided as a matter of law only if the evidence
 6
     (or, in this case, the allegations in the complaint and facts properly subject to judicial notice) can
 7
     support only one reasonable conclusion.” Stella v. Asset Mgmt. Consultants, Inc., 8 Cal. App. 5th 181,
 8
     193 (2017) (citations omitted). Based on the relevant material disputed facts, the Court cannot decide
 9
     on summary judgment which side to believe.
10

11

12
                                                                   Respectfully Submitted,
13   Dated: January 25, 2019
                                                                   /s/Aimee H. Wagstaff
14
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 1                                            ECF ATTESTATION
 2   Pursuant to Civil L.R. 5-1(i)(3), the filing attorney attests he has obtained concurrence regarding the
 3
     filing of this document from the signatory above.
 4

 5
      Date: January 25, 2019                               By:        /s/ Leland H. Belew
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                                              ECF ATTESTATION
